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                         UNITED STATES DISTRICT COURT

                               DISTRICT OF MAINE

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           UNITED STATES OF AMERICA,                  CRIMINAL ACTION

                         Plaintiff               Docket No: 2:15-cr-127-JDL



                   -versus-



           TODD RASBERRY,

                      Defendant
           ____________________________

                               Transcript of Proceedings


           Pursuant to notice, the above-entitled matter came on
           for Suppression Hearing held before THE HONORABLE JON
           D. LEVY, United States District Court Judge, in the
           United States District Court, Edward T. Gignoux
           Courthouse, 156 Federal Street, Portland, Maine on the
           15th day of October, 2015 at 1:20 p.m. as follows:


           Appearances:

           For the Government:         Julia M. Lipez, Esquire
                                       Assistant United States Attorney

           For the Defendant:        Robert A. Levine, Esquire




                                      Dennis R. Ford
                                 Official Court Reporter

                         (Prepared from manual stenography
                          and computer aided transcription)
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                                           I N D E X

           Witness                   Direct     Cross    Redirect       Recross

           Paul Wolf                 9           37          72          78

           Andrew Flynn              80          97          109

           Thomas LaPierre           111         125         134         136

           Kris Sullivan             138         147

                                      E X H I B I T S

           Number                    Description                   Page/Admit

           Govt's 1                  Dispatch Log                  94/95

           Deft's 1              Affidavit Paul Wolf               63



           SIDE BAR CONFERENCES



           CHAMBERS CONFERENCES

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     1                 (Chambers conference)

     2                 THE COURT:      We are here in the case of United

     3     States versus Todd Rasberry, docket 15-cr-127.

     4     Counsel, please note your appearances for the record.

     5                 MS. LIPEZ:      Julia Lipez for the United States,

     6     Your Honor.

     7                 MR. LEVINE:      Robert Levine for Todd Rasberry.

     8                 THE COURT:      And I understand that you wanted

     9     to meet with me ahead of our hearing, so tell me what's

    10     on your mind.

    11                 MS. LIPEZ:      Yes, Your Honor.       I just wanted to

    12     briefly discuss the parameters under which defense

    13     counsel could use the Giglio materials that we

    14     disclosed about Agent Wolf, and I'm sure Robert knows

    15     Rule 608(b), but just so that more is not disclosed

    16     than is needed at the hearing, I did want to ask the

    17     Court again to discuss the parameters.

    18            As I view 608(b), certainly specific instances of

    19     conduct that go to credibility can be asked about, but

    20     the rule does not permit questions about extrinsic

    21     evidence, and I take that to mean it would not be

    22     permissible to ask isn't it true that the U.S.

    23     Attorneys Office found or isn't it true that a DEA

    24     investigator found.

    25            Our view is that that would not be appropriate as
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     1     it's extrinsic and both hearsay as well, but certainly

     2     it might be appropriate to ask isn't it true that you

     3     did X, Y or Z.

     4                 THE COURT:      Robert?

     5                 MR. LEVINE:      Yeah.    My only -- I mean as I

     6     discussed with Julia over the phone, you know, the use

     7     I want to make of that in cross-examining Agent Wolf is

     8     just to discuss the need for his reports to reflect,

     9     you know, the full parameters of the investigation.

    10     That he was -- you know, he knows that, and number two,

    11     from a prior investigation where he was told that his

    12     report wasn't complete.

    13                 MS. LIPEZ:      Yeah, I would object to that

    14     because I think the question about any findings from a

    15     prior investigation is a reference to extrinsic

    16     evidence and to hearsay as opposed to asking

    17     specifically if in the past he had made incomplete

    18     reports or not.       I think that's what's permissible

    19     under 608(b).

    20                 THE COURT:      So your position is that he can't

    21     be impeached by even the suggestion that questions had

    22     been -- were questions raised in connection with an

    23     earlier investigation?

    24                 MS. LIPEZ:      I think that's right, Your Honor.

    25     I think the rule is clear that it can only be a
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     1     question to the witness about whether the witness did

     2     or did not do something and then the examiner is really

     3     stuck with the witness's answer about that.

     4                 THE COURT:      And what's the Government's

     5     position as to whether he can be asked about a prior

     6     incident or investigation in which he was requested to

     7     submit follow-up reports because of the need to provide

     8     further explanation that was provided in the report

     9     that preceded it?

    10                 MS. LIPEZ:      I guess it would depend on how the

    11     question is phrased, Your Honor, but I think again the

    12     question should be focused on what Agent Wolf did or

    13     did not do.

    14                 THE COURT:      All right.     Well, I will -- I'm

    15     going to leave to the two of you as able advocates to

    16     ask questions that you believe will lead to admissible

    17     answers and to the extent there's an objection, I'll

    18     rule when it's made.

    19            It does seem to me, however, that the parameters

    20     of what's admissible is a little broader than you

    21     suggested.      On the other hand, I haven't heard you

    22     indicate this, Robert, but I don't think it would be

    23     appropriate for you to get into names certainly, and to

    24     -- having reviewed his materials, it seems to me that

    25     there would be a basis to ask whether conclusions were
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     1     made based upon -- in connection with that earlier

     2     investigation.

     3            That would seem to be a fair representation of

     4     what that body of information indicates based on the

     5     questions, but rather than rule on this in the

     6     abstract, it's best that I do so on the bench as you

     7     ask the question and the objection is made.

     8            Are there any other concerns about this?

     9                 MS. LIPEZ:      No, Your Honor.       I don't believe

    10     so.

    11                 THE COURT:      It seems to me also though that it

    12     would be sensible to -- because this is sealed

    13     information, to agree beforehand that neither of you

    14     will make reference to the name of that earlier case.

    15     I'm sure that the detective or the investigator or the

    16     agent -- it's an agent?

    17                 MS. LIPEZ:      Agent.

    18                 THE COURT:      Agent Fox --

    19                 MR. LEVINE:      Wolf.

    20                 THE COURT:      Wolf.    I knew it was a mammal, a

    21     furry mammal.       He will know what you're referring to,

    22     so I think you'll both find a creative way to refer to

    23     it without actually using names.

    24                 MS. LIPEZ:      And Your Honor, he has obviously

    25     seen the same materials that Mr. Levine has seen, so I
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     1     suspect he will understand what's being referred to.

     2                 THE COURT:      All right.     Now, how many

     3     witnesses do you have?

     4                 MS. LIPEZ:      I have four, Your Honor.

     5                 THE COURT:      Four witnesses.       How long do you

     6     expect them to take?

     7                 MS. LIPEZ:      I would think no more than two

     8     hours, depending on cross-examination.                  We will start

     9     with Agent Wolf, who I expect to take the longest, and

    10     I do expect them to get progressively shorter.

    11                 THE COURT:      Anything else to discuss

    12     beforehand?

    13                 MR. LEVINE:      No.    After her agents testify, if

    14     we have time, I would like to take a brief recess to

    15     talk to my client about the possibility of him

    16     testifying.

    17                 THE COURT:      Okay.    You'll remind me of that

    18     when the time comes.         Thank you both, I'll see you in

    19     the courtroom.

    20                 (Open court.      Defendant present.)

    21                 THE COURT:      Good afternoon.

    22                 MS. LIPEZ:      Good afternoon.

    23                 THE COURT:      We are proceeding in the case of

    24     United States versus Todd Rasberry.              This is docket

    25     15-cr-127.      Counsel, please identify yourselves for the
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     1     record.

     2                 MS. LIPEZ:      Julia Lipez for the United States,

     3     Your Honor.

     4                 MR. LEVINE:      Robert Levine for the defendant

     5     Todd Rasberry, Your Honor.

     6                 THE COURT:      We're here for an evidentiary

     7     hearing on the defendant's motion to suppress.

     8     Counsel, is there anything to take up before we begin

     9     the evidence?

    10                 MS. LIPEZ:      No, Your Honor.

    11                 MR. LEVINE:      No, Your Honor.

    12                 THE COURT:      All right.     The Government may

    13     proceed.

    14                 MS. LIPEZ:      Your Honor, the Government calls

    15     Special Agent Paul Wolf.

    16                 THE CLERK:      Please raise your right hand.                Do

    17     you solemnly swear that the testimony you will give in

    18     the cause now in hearing will be the truth, the whole

    19     truth, and nothing but the truth, so help you God?

    20                 THE WITNESS:      I do.

    21                 THE CLERK:      Please be seated.           If you would

    22     please pull yourself right up to the microphone and

    23     state your first and last name for the record.

    24                 THE WITNESS:      My name is Paul Wolf.            Last name

    25     spelled W-O-L-F.
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     1                 THE COURT:      Please proceed.

     2                 MS. LIPEZ:      Thank you, Your Honor.

     3                             DIRECT EXAMINATION

     4     BY MS. LIPEZ:

     5     Q.      Where do you work, Special Agent Wolf?

     6     A.      I'm a federal agent.         I work for the United

     7     States Drug Enforcement Administration.                 I'm assigned

     8     to the Portland, Maine, resident office.

     9     Q.      And how long have you been an agent with DEA?

    10     A.      About 20 years.

    11     Q.      And in that time, what type of investigations

    12     have you conducted?

    13     A.      I investigate narcotics offenses, so it has to do

    14     with drug trafficking, money laundering and

    15     drug-related offenses from Title 21.

    16     Q.      And have your duties remained largely the same

    17     for the last 20 or so years?

    18     A.      Different locations, but yes, essentially the

    19     same mission.

    20     Q.      And in recent years, have you been conducting an

    21     investigation of an individual that you first learned

    22     of as Champagne?

    23     A.      Yes.

    24     Q.      And how long approximately have you been

    25     investigating the activities of Champagne?
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      1     A.       I'd say between 3 and 4 years.

      2     Q.       And specifically, what type of activities were

      3     you investigating?

      4     A.       The activities included surveillance,

      5     interviewing witnesses and cooperators, making

      6     controlled purchases from the Champagne organization in

      7     order to try to learn more about it and infiltrate the

      8     organization.

      9     Q.       And what did you suspect that Champagne was

     10     doing?

     11     A.       My understanding -- from my investigation it

     12     showed that this person Champagne was from New York

     13     City and was overseeing an organization of people in

     14     the Portland, Maine, area distributing heroin and

     15     cocaine in the community around Portland.

     16     Q.       And at some point during your investigation, were

     17     you able to determine the actual identity of this drug

     18     trafficker known as Champagne?

     19     A.       Yes.

     20     Q.       And who did you finally determine Champagne to

     21     be?

     22     A.       His actual identity I determined to be Todd

     23     Rasberry, but I also learned during the investigation

     24     that he used other aliases.

     25     Q.       And when approximately was it, if you can recall,
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      1     that you determined that the person known as Champagne

      2     was actually named Todd Rasberry?

      3     A.      I think it was around the fall of 2014.

      4     Q.      And how many aliases did you determine he had

      5     used?     How many aliases did you determine that Todd

      6     Rasberry had used in the past?

      7     A.      Based on my interviews and my investigation, but

      8     also reviewing his criminal history from NCIC, I

      9     observed at least five, but I was aware of him using

     10     James Bald, B-A-L-D, and also Rahiim, R-A-H-I-I-M,

     11     Etheridge, E-T-H-E-R-I-D-G-E.

     12     Q.      All right.     And in the last year or so, were you

     13     able to determine who -- strike that.

     14                 Were you able to determine whether there was

     15     an individual in the Portland area who was delivering a

     16     large portion of heroin on a regular basis for

     17     Champagne or Mr. Rasberry?

     18     A.      Yes.

     19     Q.      And who did you determine that that individual

     20     was?

     21     A.      I eventually identified that person as Julie

     22     Wilson.

     23     Q.      And just briefly, how did you determine that Ms.

     24     Wilson was running drugs for Todd Rasberry?

     25     A.      I had interviewed cooperating sources.               I had
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      1     interviewed people following their arrest trying to

      2     learn more about the organization.             Through them, I had

      3     obtained telephone numbers for this person Julie, who I

      4     only had a first name at first.

      5                I did phone analysis and then eventually

      6     talking to, I believe, a Westbrook police officer, who

      7     was jointly involved in the investigation, we were able

      8     to determine that the -- that Julie was Julie Wilson

      9     and, you know, following that, I was able to obtain a

     10     photograph of Julie Wilson, which was shown to some

     11     witnesses who said yes, that's the person that I

     12     obtained heroin from.

     13     Q.     And you mentioned phone analysis.                Did any of

     14     that phone analysis show links between Mr. Rasberry or

     15     the drug trafficker you knew as Champagne and Julie

     16     Wilson?

     17     A.     It did.

     18     Q.     Can you describe briefly what the phone analysis

     19     showed.

     20     A.     Yes.    Over the course of time, say even the last

     21     year leading up to the arrest, my investigation would

     22     show telephone numbers that were occasionally changed,

     23     that witnesses would tell me were the phone numbers to

     24     contact Champagne in order to place orders, but also

     25     another number to contact Julie Wilson in order to
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      1     coordinate delivery or to simply order from her.

      2                I did do phone analysis of several of those

      3     numbers that were attributed to each of them and saw

      4     within a 30-day period hundreds of connections between

      5     the telephone numbers, whether those connections

      6     represented text messages or actual telephone voice

      7     calls, but there were hundreds of connections between

      8     the two.

      9     Q.     All right.      I'd like to direct you to July 15th

     10     of 2015.     Leading up to that date, had you received any

     11     information about Ms. Wilson making a delivery of drugs

     12     on that date?

     13     A.     I did receive information that date about her,

     14     yes.

     15     Q.     And what was the information you received?

     16     A.     I received information that she was operating a

     17     rented vehicle and I had a description of the vehicle,

     18     I had the license plate of the vehicle, and that she

     19     was doing drug deliveries in the Portland area.

     20                I had gone to Hertz Rent a Car at the airport

     21     and verified that she was still a registered driver for

     22     the particular vehicle with the same license plate, and

     23     finally I received information that she would be making

     24     a heroin delivery in the area of the Clarion Hotel on

     25     Port -- on Congress Street in Portland sometime around
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      1     3 o'clock in the afternoon on the 15th of July.

      2     Q.       And this information came from a source of yours;

      3     is that right?

      4     A.       Yes.

      5     Q.       What did you do then in response to receiving

      6     this information that she was going to be making a

      7     delivery on the afternoon of the 15th?

      8     A.       I developed a plan to try to observe her and

      9     approach her and solicit her cooperation or, you know,

     10     interview her to see if she was, in fact, delivering

     11     drugs.     So myself and I think three other agents, maybe

     12     four, we simply established surveillance in the area of

     13     the Clarion because we had a particular vehicle to look

     14     for, and probably starting around 3 o'clock, we took

     15     various positions around the Clarion keeping an eye out

     16     for that vehicle.

     17     Q.       And do you recall today the agents that were with

     18     you and the names of at least some of them?

     19     A.       Sure.   Special Agent Kate Barnard was there as

     20     was Special Agent Kristopher Sullivan and Task Force

     21     Agent Tom LaPierre.

     22     Q.       All right.    What happened after you all had set

     23     up surveillance in the area of the Clarion Hotel?

     24     A.       Well, for a while nothing.         We were waiting and

     25     were almost at the point of discontinuing the
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      1     surveillance when myself or another member of the team

      2     observed the vehicle attributed to Wilson parked across

      3     Congress Street from the Clarion at a gas station.

      4     Q.     And what did you do at that point?

      5     A.     I directed the other agents -- again we started

      6     thinking about safety at that point -- I directed them

      7     to take various positions around her car, moving one

      8     vehicle in front, one behind so that we don't wind up

      9     with a car chase, but we approached, contained the

     10     vehicle and then approached Wilson who was seated in

     11     the vehicle by herself.

     12     Q.     What happened after you approached her?

     13     A.     I directed her out of the car.            I did a quick pat

     14     down of her to make sure she wasn't holding any weapons

     15     and I began an interview of her by identifying myself,

     16     explaining the situation and a little bit of the

     17     evidence implicating her and soliciting her cooperation

     18     to try to expand my investigation.

     19     Q.     What did she do in response to your statements to

     20     her?

     21     A.     Initially, she was very frightened and asked if

     22     we could speak privately.          She was concerned about

     23     being out on the street and she agreed to move to my

     24     vehicle.     She was not handcuffed.

     25                Inside my vehicle, she began to cry, expressed
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      1     a very strong desire of being afraid of going to jail

      2     and I continued to explain to her that my purpose was

      3     to expand the investigation and solicited her

      4     cooperation and I told her I felt that she was making a

      5     drug delivery.

      6                She reached into her waistband and pulled out

      7     a baggie of -- I think it was six small baggie corners

      8     of tan powder that to me was consistent with heroin and

      9     I took custody of that.         I said you're still not under

     10     arrest, you're being detained and I'd like to continue

     11     to talk about the situation that you're in.

     12     Q.     And did she agree to do that?

     13     A.     She did.     We continued to talk and I told her

     14     that I felt that she was a pawn for someone else and

     15     that while what she was doing was illegal and wrong,

     16     that there were other people that were taking advantage

     17     of her and I told her my interest in learning who and

     18     where the person that was controlling this heroin was

     19     located.

     20     Q.     Did she tell you anything?

     21     A.     She did.

     22     Q.     What did she tell you?

     23     A.     She told me that she worked for a man from New

     24     York that she knew as Champ or Champagne.                She told me

     25     that she had rented a hotel room in Scarborough, that
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      1     Champagne was currently in the hotel room.                She told me

      2     she believed that he was in possession of additional

      3     drugs there and she provided me a key to the hotel room

      4     that she said I could use to access.

      5                I got a form in order to memorialize her

      6     consent and I read it to her out loud.              She watched

      7     while I filled in the information on Room 109 at

      8     America's Best Value Inn in Scarborough and then she

      9     expressed concern -- as we were talking, her phone was

     10     ringing.       She had said those were, you know, customers

     11     were calling in and she said if he calls me and I don't

     12     answer, he's going to run away, so I at that point knew

     13     that we had an urgency in order to get to the next

     14     step.

     15     Q.      And I believe you said that she indicated she was

     16     working for Champ or Champagne; did she elaborate

     17     further on what she was doing for him during this

     18     conversation?

     19     A.      Yes.    She said that she -- she said that she was

     20     an addict and that she was -- spent her time delivering

     21     heroin to drug customers around Portland on his behalf.

     22     Q.      All right.     So you said that she gave you a key

     23     to the room; did she tell you what room and what hotel

     24     specifically she believed Champagne was in?

     25     A.      She did.
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      1     Q.      And what did she say?

      2     A.      And she said it was Room 109 of America's Best

      3     Value Inn on Route 1 in Scarborough.

      4     Q.      What did you do then once you had that

      5     information, the key and her consent to search that

      6     room?

      7     A.      I then contacted Officer Andrew Flynn of the

      8     Scarborough Police Department, explained the situation

      9     to him, talked to the other agents and we tried to, as

     10     quickly as possible, relocate somewhat closer to the

     11     hotel so that we could finalize a plan to approach that

     12     room.

     13                So Julie Wilson and the other agents that were

     14     with me, we all next went over to the Scarborough

     15     Police Department, only an 8 or 10-minute ride away,

     16     and met in the parking lot there.

     17     Q.      When you were in the parking lot, did you have a

     18     discussion about what you would do next at the hotel?

     19     A.      Yes.   I, you know, de facto was making the

     20     decisions here as it was my case.             I asked Agent

     21     Barnard if she would remain at the Scarborough police

     22     station with Julie Wilson.

     23                I know that part of valid consent is the

     24     ability for someone to withdraw their consent if they

     25     change their mind, so I explained to Julie Wilson that
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      1     she's going to stay there with Agent Barnard.                 If she

      2     changed her mind and didn't want to -- or if she wanted

      3     to withdraw her consent, all she had to do was tell the

      4     agent and the agent would call us and we would stop.

      5                 I wanted them -- then take the other agents so

      6     we then had four of us because Officer Flynn had joined

      7     us and then we developed a very brief plan to go to the

      8     hotel and approach Room 109 with the written consent

      9     with the intent of entering that room and conducting a

     10     consent search.

     11     Q.       And did you then go to America's Best Value Inn

     12     to effectuate that search?

     13     A.       Yes.

     14                 THE COURT:     Attorney Lipez, pardon me, do you

     15     intend to mark and introduce the written consent?

     16                 MS. LIPEZ:     I did not intend to do that, Your

     17     Honor.     I did not believe it was material.

     18                 THE COURT:     Thank you.      Go ahead.

     19     BY MS. LIPEZ:

     20     Q.       At the time you went to the hotel -- I'd like to

     21     ask you a little bit about what you knew of Mr.

     22     Rasberry's background.         Had you seen a photograph of

     23     him at that point?

     24     A.       Yes, many times.

     25     Q.       So you were familiar with his appearance?
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      1     A.     Absolutely.

      2     Q.     And you mentioned that you had run his criminal

      3     history; what had you learned from that?

      4     A.     I had observed numerous arrests in the New York

      5     area that included narcotics violations, what --

      6     assault that involved what appeared to be firearms from

      7     my interpretation of the record.

      8                I was also aware that in December of 2014,

      9     about six months earlier, that Mr. Rasberry had been

     10     arrested in a hotel room in Westbrook.              In that hotel

     11     room were a quantity of cocaine and heroin and I was

     12     also aware in that hotel room was a backpack that had

     13     contained a handgun.

     14     Q.     And during that incident where officers found

     15     drugs and a gun in the hotel room where Mr. Rasberry

     16     was located, do you know what Mr. Rasberry himself was

     17     arrested for at that time?

     18     A.     On that night he was charged with aggravated

     19     forgery.     I was not present for that.           It was related

     20     to use of aliases over his real name during the booking

     21     process.

     22     Q.     And when you enter a hotel room like you planned

     23     to do in this case, are there particular safety

     24     concerns that you have that are unique to a hotel room

     25     as opposed to encountering someone in a public place,
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                                                                                    21
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      1     on the street or something like that?

      2     A.     Yes.     The overarching priority for all of our

      3     operations is safety and the safety extends to members

      4     of our team, the safety extends to whoever the

      5     defendant might be, in this case Mr. Rasberry, and it

      6     extends to nearby innocent bystanders.

      7                So in a hotel room, having done many entries

      8     and searches of hotel rooms, it's a very confined space

      9     and almost always there are adjacent rooms with just

     10     drywall in-between them, meaning that in the event that

     11     there's any discharge of a firearm, the risk to

     12     innocent people who are by design at the hotel like

     13     that in close proximity goes up.

     14                So when entering a hotel room or any space,

     15     the first priority is safety and that safety is

     16     obtained by establishing the security, neutralizing any

     17     threats that might be inside of that space.

     18     Q.     And did you view Mr. Rasberry to be a potential

     19     threat?

     20     A.     I did.

     21     Q.     And what was the basis for that?

     22     A.     I was aware of his firearm's history, some of

     23     which was recent.        I was aware of his conviction as

     24     being a felon involving violence, and my investigation

     25     showed me that he was the head of a significant drug
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                                                                                    22
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      1     trafficking organization in the Portland area and I

      2     know that drug trafficking and violence often go

      3     hand-in-hand.

      4     Q.      When you arrived at the hotel, approximately what

      5     time in the afternoon was it; if you recall?

      6     A.      I think it was probably around 4:30 in the

      7     afternoon.

      8     Q.      And who was with you?

      9     A.      At the hotel, myself, Agent Sullivan, Agent

     10     LaPierre and Officer Flynn.

     11     Q.      What was the plan in terms of entry into the

     12     room?

     13     A.      I had directed Agent Sullivan -- we knew the

     14     layout of the hotel, especially with a Scarborough

     15     officer with us.       We knew that all of the doors faced

     16     the parking lot; in other words, there was no internal

     17     hallway.     All of the room doors led directly outside.

     18     We knew that there was on the back side of the building

     19     a window through which a person could fit.

     20                So the plan was I put Agent Sullivan on the

     21     window on the back of the building.             The other --

     22     myself and the other two approached Room 109 and we saw

     23     that there was a window that faced the parking lot,

     24     which was to the right of the door.             We stood to the

     25     left of the door.        Our training never has us standing
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                                                                                     23
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      1     in front of the door and we approached there with the

      2     purpose of knocking and entering.

      3     Q.      And why don't you stand either in front of the

      4     window or in front of the door to the room; why did you

      5     stand to the side?

      6     A.      Again, it's -- we want to show as little as

      7     possible of whatever tactics we might have, so standing

      8     in front of a window gives whoever is in the room to

      9     have the opportunity to see you, to see that the police

     10     are there, to destroy evidence, to arm themselves and

     11     you essentially lose the element of surprise.

     12                Standing in front of a door, in this case the

     13     door had no window in it, but just practice is that in

     14     the unlikely event that someone is -- has armed

     15     themselves and is going to do harm with a firearm,

     16     standing in front of the door puts you in the field of

     17     fire.

     18     Q.      And what were you wearing at the time you had

     19     lined up sort of to the side of this door and were

     20     preparing to enter?

     21     A.      No one was in any kind of a police uniform.                 We

     22     had either ballistic vests that were -- that had police

     23     printed on the front of them and/or normal practice is

     24     to wear a badge on a lanyard around the neck.                 Which of

     25     those I had that day, I believe I was in a ballistic
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                                                                                    24
                                    Wolf-Direct/Lipez

      1     vest, but I'm not sure.         I either had that or a badge

      2     showing.

      3     Q.       And did you have your weapon out as you

      4     approached the door?

      5     A.       No.

      6     Q.       So what did you do then when you got to the door?

      7     A.       I had the keycard that Julie Wilson had provided.

      8     It was not the type that you would slip into a slot in

      9     order to activate the lock.           It was more like a

     10     proximity card.        You hold it near the lock, it would

     11     pick up the signal and would unlock.

     12                    So we quietly approached the door.           I placed

     13     it -- the card key and I saw, I think, a red light

     14     light up, but it did not activate the lock so I wasn't

     15     sure why, but the keycard that I had didn't work.                   I

     16     told the other officers that and I then knocked on the

     17     door.

     18     Q.       And at the time you knocked, where was Officer

     19     Flynn and Agent LaPierre?

     20     A.       They were both to my left.         Again, I'm just to

     21     the left of the door and they are both to my left,

     22     further down the exterior, out-of-sight of anybody that

     23     would look through the peephole if there was one or

     24     look straight out the window, we would be out of their

     25     sight.
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                                                                                    25
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      1     Q.       So you were the first in line to that hotel door?

      2     A.       Yes.

      3     Q.       And what happened when you knocked on the door?

      4     A.       Within five seconds or so the door opened and I

      5     observed the person I knew as Todd Rasberry standing

      6     there.

      7     Q.       And at that time, did you have your weapon drawn?

      8     A.       No.

      9     Q.       What happened then after Mr. Rasberry opened the

     10     door?

     11     A.       We -- our intent was to enter that room, so we

     12     began to step in.        A statement was made either by me or

     13     one of the other officers or more than one of us

     14     essentially saying we're here to search this room and

     15     we stepped into the threshold.            I think Mr. Rasberry

     16     was somewhat surprised.         He didn't say anything in

     17     response and at that point, my most important priority

     18     is the safety that I talked about.

     19                    I don't know who else is in that room.            I

     20     don't know if there's weapons in that room, and now

     21     that we've shown ourselves, the priority is to do a

     22     security sweep, neutralize any threats that might be in

     23     the room, so --

     24     Q.       So how did you go about doing that?

     25     A.       I was first in line.       I know my priority is to
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                                                                                    26
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      1     get as much penetration into whatever space that we're

      2     getting.      If I encounter anyone along the way, the way

      3     we train is the people behind me are trained to engage

      4     them and neutralize them while the lead person or the

      5     lead people in our entry team penetrate the space as

      6     much as possible.        So I observed him.        I knew that my

      7     teammates behind me were going to engage him.                 I drew

      8     my weapon at that point as we were coming by and as I'm

      9     coming by Mr. Rasberry.

     10     Q.      Did you point your weapon at him?

     11     A.      No.

     12     Q.      So what was the purpose of drawing your weapon at

     13     that point?

     14     A.      I'm going further into a space and I don't know

     15     what's in there.       So it's the protection of myself and

     16     the rest of my team from any threats that might be

     17     inside.

     18                   It's a hotel room.      It's not a very big hotel

     19     room.     It's essentially a rectangle where we are.

     20     Ahead to the right was a bathroom, small bathroom,

     21     which is at the rear, and it was an open area with a

     22     sink and I don't think there was a closet or anything.

     23     And so from not knowing what's in the room, to being

     24     able to say clearly that no other people were in the

     25     room, no other threats were in the room, was a five
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                                                                                    27
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      1     second penetration in order to say okay, we're --

      2     immediate danger has subsided.

      3     Q.     And once you determined there were no other

      4     threats in the room, what did you do with your weapon?

      5     A.     I holstered it.

      6     Q.     And while you were doing that protective sweep of

      7     the room, you mentioned that you expected that Officer

      8     Flynn or Agent LaPierre would engage Mr. Rasberry; did

      9     you know what they were doing with him specifically?

     10     A.     I know from when I turned around and I know,

     11     based on our plan when we went in given the level of

     12     our apprehension going to encounter this person, that

     13     he would be detained and he would be handcuffed.

     14     Q.     And so after you cleared the room and turned

     15     around, what did you observe?

     16     A.     I saw that he had been handcuffed.

     17     Q.     And who was standing closest to him; if you can

     18     recall?

     19     A.     Flynn and LaPierre were there in his vicinity,

     20     but again, none of us is more than ten feet apart.

     21     It's a relatively small room.

     22     Q.     Did you see either of them frisk him or search

     23     him in any way?

     24     A.     No.

     25     Q.     And once you had holstered your weapon, were
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                                                                                    28
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      1     either of the other two officers in the room -- did

      2     they have weapons drawn?

      3     A.     Not that I recall at that point.             Normal -- once

      4     again, once we get to that level, everybody's in a

      5     position to holster up and I know that by our practice,

      6     you know, if you're engaging someone, if you're putting

      7     your hands on someone, your weapon is always holstered

      8     so that you have both hands free, so I don't know if

      9     they ever drew a weapon or not.

     10     Q.     Did you speak to Mr. Rasberry at that point once

     11     you determined there was no one else in the room that

     12     was a threat?

     13     A.     Yes.    So at that point adrenaline is running

     14     high, Mr. Rasberry's been surprised by us, there's a

     15     lot of apprehension on our part, so at that point,

     16     based on my practice, it's time to -- for everybody to

     17     take a deep breath, let's calm the situation and let's

     18     get to the point of explaining what's happening here,

     19     which is what I began to do.

     20                I asked Mr. Rasberry who he was and he gave me

     21     his name as Todd Rasberry and then I began to explain

     22     to say -- well, first I wanted to establish his

     23     standing; in other words, what's the circumstances of

     24     the room and how it related to him so I asked him is

     25     this your hotel room?         Have you rented it?         Do you live
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                                                                                    29
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      1     here?     Are you staying here?        He stated no to all of

      2     them and he stated that the hotel room was rented by a

      3     girl and that he was a guest of the person that rented

      4     the room.

      5                   So at that point, having established his

      6     standing in the room, I explained I have a written

      7     consent to conduct a search of this room, which is what

      8     we intend to do and right now, Mr. Rasberry, you're not

      9     under arrest.       You are being detained and I let him

     10     know that.

     11                   At that point I left the room because we had

     12     left our cars on a side street near the hotel.                  I

     13     wanted to get my vehicle, which had a search kit,

     14     basically evidence bags, the things we would need,

     15     inventory, things we would need in order to conduct a

     16     search.       Go ahead.

     17     Q.      Did Mr. Rasberry say anything when you told him

     18     he was not under arrest that you can recall?

     19     A.      No.    He was very quiet throughout the encounter.

     20     Q.      So you left the room and you left Officer Flynn

     21     and Agent LaPierre in the room with Mr. Rasberry; is

     22     that right?

     23     A.      Yes.

     24     Q.      And what did you do then after you left; you went

     25     to your vehicle?
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                                                                                    30
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      1     A.     I first went behind the hotel to let Agent

      2     Sullivan know that everything was okay and that he

      3     didn't need to guard the rear window anymore.                 I had

      4     him come around to join us in the room.

      5                I went and got my vehicle, which was maybe

      6     50 yards away, drove it over to a parking spot in front

      7     of the hotel.      At that general time, whether I went

      8     into the room again or not, right around that general

      9     time a taxi had arrived in the parking lot out in front

     10     of the hotel.

     11                The parking lot was almost empty, maybe three

     12     cars in it.      It's a small hotel, it was the middle of

     13     the afternoon, but I did go back into the room and I

     14     did interact with Mr. Rasberry who made some reference

     15     to -- I think he looked out the window and he said my

     16     cab's here.

     17     Q.     So what did you do in response to hearing that?

     18     A.     So I did leave the room for maybe 3 or 4 minutes

     19     because I wanted to go out and interview the taxi

     20     driver to get their identity, find out more information

     21     about them.      I did a brief interview with the cab

     22     driver and returned into the room.

     23     Q.     And while you were doing that, did any of the

     24     other agents on the scene start searching the room?

     25     A.     Yes.    They had done a cursory search.             Around
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      1     this time, I don't know in which order, but I learned

      2     that a digital scale had been located in the bathroom.

      3     I learned that a telephone had been located on top of

      4     the microwave and they were just in the process of

      5     looking through the drawers and the dresser and under

      6     the mattresses.       That process had begun.

      7     Q.     And a digital scale in an investigation like

      8     this, did that have any significance to you?

      9     A.     Yes.    Scales -- and I think there was a box of

     10     baggies that were in the room, they to me indicate in

     11     the drug world breaking down the large amount of drugs

     12     into retail size packages that are then sold.

     13     Q.     Once you went back into the room then after

     14     speaking with the cab driver, did you engage any

     15     further with Mr. Rasberry?

     16     A.     Yes.

     17     Q.     Was he still handcuffed at that point?

     18     A.     Yes.

     19     Q.     And what was the nature of your interaction with

     20     him?

     21     A.     I continued to explain the situation and as time

     22     was going by, maybe not immediately then, but I knew he

     23     was not under arrest.         I'm sensitive to leaving someone

     24     handcuffed longer than is necessary when they're simply

     25     detained and I explained to him that in my mind,
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                                                                                    32
                                    Wolf-Direct/Lipez

      1     eventually I'm going to remove handcuffs unless drugs

      2     are located and he's arrested, so I said I'm going to

      3     pat you down for weapons now.

      4     Q.     And in your training, what constitutes a thorough

      5     pat down for weapons; what does that involve?

      6     A.     My training tells me that a frisk, a Terry stop,

      7     a pat down is a safety tool.           It's an examination of

      8     someone's clothing in order to determine whether or not

      9     they have anything that can do harm to me or to the

     10     other people in the room.

     11                It's a search for a gun or a knife and it's

     12     not a strip search or anything near that.                It's -- it

     13     is a pat down of the exterior clothing of the

     14     individual.

     15     Q.     Does that include all of the clothing, including

     16     shoes, socks, things like that?

     17     A.     Yes.    It's -- in my training, it's not taking

     18     shoes off and looking inside them, but it's feeling the

     19     exterior of socks to feel if there might be a razor or

     20     something contained in them, but it's not taking the

     21     soles out of shoes that, in my training, would be a

     22     search.    A pat down is a quest for weapons.

     23     Q.     And so your intention at that time was to do a

     24     frisk of Mr. Rasberry and if there are no weapons to

     25     take the handcuffs off; is that correct?
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                                                                                    33
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      1     A.     Yes.    Whether I took the handcuffs off

      2     immediately or not, I know that that box has been

      3     checked.      And again, the room has been frisked, if you

      4     will, for weapons and I want to do the same for him,

      5     knowing that the potential is that he could be -- have

      6     a weapon in the cargo shorts that he was wearing.

      7     Q.     And at the time that you planned to frisk him,

      8     what was your understanding of whether he had been

      9     fully frisked already?

     10     A.     My understanding was that he had not.

     11     Q.     So what did you then do?

     12     A.     I explained to him that I was going to pat him

     13     down for weapons.        I saw that he was wearing cargo

     14     shorts, a close fitting tank top, athletic shoes.                   I

     15     don't recall if he had socks or not.             So my -- I could

     16     see the whole tank top and I could see the ankles, so I

     17     knew if there was any threats, it would be within his

     18     cargo shorts.

     19                So I began a patting down of his pockets, his

     20     buttocks, and I checked up into his crotch area to see

     21     if I could feel any object there.             In my career, I have

     22     located small handguns in just that location.

     23                As I did that, I felt a probably tennis ball

     24     size object right down where his two in-seams would

     25     meet of his cargo shorts and I felt that and said I
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                                                                                    34
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      1     feel something here, what is this?             And he claimed oh,

      2     it's part of my anatomy, which I knew that it wasn't.

      3     Q.     What did you believe it to be upon feeling it?

      4     A.     Based on my training and experience, it's

      5     consistent with an amount of cocaine or heroin,

      6     something that's in a relatively powdered form that you

      7     can feel a little bit of the consistency through

      8     clothing, but I know that drug traffickers will

      9     frequently hide illegal drugs in that area in order to

     10     avoid detection.

     11     Q.     Then based on your belief that you had felt drugs

     12     in there, what did you do at that point?

     13     A.     I then looked at Mr. Rasberry and said I feel

     14     what I think is drugs here and I -- now you're under

     15     arrest, I'm arresting you now and I'm going to search

     16     you incident to your arrest.

     17     Q.     Is it your standard practice to search

     18     individuals incident to arrest?

     19     A.     Yes.

     20     Q.     And did you do that in this case?

     21     A.     I did.

     22     Q.     And what occurred when you did that?

     23     A.     Initially, it was a little bit awkward.                I was --

     24     I could feel the object down -- it felt like it was in

     25     the underwear that he was wearing.             I have seen many
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      1     times custom made underwear that allows for a pocket in

      2     order to hide things in.

      3                 For 60 seconds or so, I was trying to access

      4     it from the rear unsuccessfully and Mr. Rasberry

      5     eventually said to me you have to take it out from the

      6     front.     We switched around.        I reached inside from the

      7     front and withdrew a sandwich bag that had several

      8     smaller sandwich bags inside it.

      9     Q.       What did you believe at the time was in those

     10     smaller sandwich bags?

     11     A.       Just on first glance, it appeared to me that it

     12     was three smaller sandwich bags that contained heroin,

     13     one that contained cocaine.

     14     Q.       And did you subsequently do any field-test of the

     15     items you had retrieved from Mr. Rasberry?

     16     A.       I did.

     17     Q.       What did those field-tests show?

     18     A.       All three of the sandwich bags that contained tan

     19     powder showed a positive indication for the presence of

     20     heroin, and the one that contained the white powder did

     21     a positive indication for the presence of cocaine.

     22     Q.       And what sort of weight did you discover in what

     23     you had found?

     24     A.       Including the baggies that they were in, the

     25     heroin totaled at about 57 grams and the cocaine
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      1     totaled out at about 27 grams.

      2     Q.      Did you find anything else on Mr. Rasberry in the

      3     course of your search incident to arrest?

      4     A.      Yes.   Whether it was search incident to arrest or

      5     during the pat down, he had a set of keys that was in

      6     one of his pockets.        He had a small amount of U.S.

      7     currency, paper bills, and there was a flip phone or

      8     telephone identical to the one that had been on the

      9     microwave that was removed.

     10     Q.      And did you seize both phones that were found in

     11     the room; the one on the microwave and the one on Mr.

     12     Rasberry?

     13     A.      Yes.

     14     Q.      And what happened then after you had completed

     15     your search incident to arrest of Mr. Rasberry?

     16     A.      We completed the search of the hotel room and

     17     then he was transported to the Cumberland County Jail.

     18     Q.      And did you find anything else in the hotel room

     19     other than the scale, the baggies, the phones that

     20     we've heard about?        Did you find any drugs in the hotel

     21     room?

     22     A.      No.

     23     Q.      And are you familiar with how the Cumberland

     24     County Jail treats incoming inmates in terms of whether

     25     they're searched or not?
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      1     A.     Yes.    Particularly in drug offenses, all inmates

      2     are searched and depending on the circumstances, there

      3     will be a strip search of them as well.

      4                  MS. LIPEZ:     I have no further questions of

      5     this witness, Your Honor.          I would, in response to Your

      6     Honor's request about the written consent, my read of

      7     defense counsel's motion was that they're not actually

      8     challenging the entry into the room.

      9            If that changes, I would like the ability to

     10     retrieve that exhibit after this hearing and provide it

     11     to the Court.

     12                  THE COURT:     Thank you.     Attorney Levine.

     13                  MR. LEVINE:     Thank you, Your Honor.

     14                               CROSS-EXAMINATION

     15     BY MR. LEVINE:

     16     Q.     Agent Wolf, you've been investigating Todd

     17     Rasberry for, I think you said, 3 or 4 years?

     18     A.     Yes.

     19     Q.     And in 3 or 4 years, you hadn't gotten an arrest

     20     warrant for him?

     21     A.     No.

     22     Q.     Why is that?

     23     A.     Well, I learned that Mr. Rasberry is very

     24     accomplished at his job and he uses layers of people

     25     between him and us, so I had made several controlled
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      1     purchases from what I believed was his organization or

      2     from him, but at least one layer removed from that.

      3     Q.     So you didn't have probable cause to arrest him

      4     even after 3 or 4 years of investigation?

      5     A.     On the day we were at the hotel; is that what

      6     you're asking?

      7     Q.     No, before that day.

      8     A.     If I -- no, I don't think I did.

      9     Q.     Because you didn't have an arrest warrant?

     10     A.     The day we met him, we did not have an arrest

     11     warrant.

     12     Q.     And when you went to the door to conduct the

     13     search of the room, you didn't have probable cause to

     14     arrest him?

     15     A.     When we opened the door, you're correct, I did

     16     not.

     17     Q.     And you described the concerns that you had about

     18     the security of the room, correct?

     19     A.     I don't understand.         Security of the room, I

     20     don't understand.

     21     Q.     So you went to the door with several other

     22     officers, correct?

     23     A.     Yes.

     24     Q.     And you said you were familiar with his history?

     25     A.     Yes.
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      1     Q.     And you were familiar with the fact that he had

      2     been found in a hotel room with a weapon, I think you

      3     said, in December of 2014; is that right?

      4     A.     Yes.    November or December, yes.

      5     Q.     And so you actually called on a Scarborough

      6     police officer, I think his name was Andrew Flynn, to

      7     join the force, correct?

      8     A.     Yes.

      9     Q.     And was Flynn in full uniform?

     10     A.     No.

     11     Q.     Was he wearing one of those ballistic vests like

     12     you were wearing?

     13     A.     I'm not sure.       I know our normal practice would

     14     either -- a ballistic vest would show -- it's important

     15     that we demonstrate our office to the person's eye, so

     16     either a badge showing or a vest or both.

     17     Q.     And was Flynn armed?

     18     A.     Yes.

     19     Q.     And were you armed?

     20     A.     Yes.

     21     Q.     Was Sullivan armed?

     22     A.     Yes.

     23     Q.     Was LaPierre armed?

     24     A.     Yes.

     25     Q.     And you had a discussion before going in about
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      1     the fact that you viewed Todd Rasberry as a security

      2     threat, correct?

      3     A.       I don't know that I had a discussion with others.

      4     I knew that myself, yes.

      5     Q.       Okay.   And you were wearing a ballistic vest, you

      6     think?

      7     A.       Either one of those or both, yes.

      8     Q.       And were the others wearing ballistic vests?

      9     A.       Again, either a badge showing or a vest or both.

     10     I can't sit here and specifically say it was exactly

     11     this.     I don't recall that detail.

     12     Q.       Okay.   And the reason for wearing the ballistic

     13     vest wouldn't just be for identification, correct?

     14     A.       That's correct.

     15     Q.       It would also be for protection?

     16     A.       Yes.

     17     Q.       And yet you can't tell us whether all of you or

     18     one of you were wearing ballistic vests?

     19     A.       Conclusively, no.

     20     Q.       And you say that you tried the key to the door,

     21     correct?

     22     A.       Yes.

     23     Q.       And it's not one of those keys you slide into the

     24     slot, it's a key that you pass by the door?

     25     A.       You hold it near the lock and when it functions,
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      1     you hear the lock activate and you enter.

      2     Q.     And the reason you know it's functioning is the

      3     red light goes to green, correct?

      4     A.     If there were lights.          All I know is I held it

      5     and the lock didn't activate.

      6     Q.     I see.     And did it ever occur to you at that

      7     point in time that maybe this Julie Wilson, who was

      8     telling you that Champagne had a room at 109 Best Value

      9     Inn, was not telling you the truth?

     10     A.     There was a small part of me that was concerned

     11     that I had bad information, which is why I knocked,

     12     yes.

     13     Q.     When you knocked on the door, did you identify

     14     yourself as a police officer?

     15     A.     Not when -- not before the door opened, no.

     16     Q.     Okay.     And when the door opened, did you identify

     17     yourself as a police officer?

     18     A.     Yes.

     19     Q.     Were guns drawn at that point in time?

     20     A.     No.

     21     Q.     Are you sure about that?

     22     A.     Yes.

     23     Q.     How are you sure about that?

     24     A.     I just know -- I wouldn't stand there with a gun

     25     out because who knows who might open that door.                  I
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      1     could possibly have incorrect information and a

      2     completely innocent person would open the door and be

      3     looking at my gun.        I --

      4     Q.     But I thought that you said that your job was --

      5     as the lead guy is to go in and neutralize the room and

      6     the job of the other guys is to trail you and

      7     neutralize anybody that might attack you, correct?

      8     A.     Yes.

      9     Q.     Neutralize, that means shoot them, correct?

     10     A.     No.

     11     Q.     It doesn't?

     12     A.     No, not to me.

     13     Q.     If somebody's attacking you from directly in

     14     front of you, how are those agents trailing behind

     15     going to neutralize this person?

     16     A.     As I enter a room -- just to clarify,

     17     neutralizing the threat to me does not mean shooting

     18     someone.      It means restraining them, placing them in

     19     handcuffs, ceasing any threatening moves that they

     20     might have toward myself or others.             That's what

     21     neutralizing means to me.

     22     Q.     Okay, but I'm just trying to get an idea of what

     23     you meant when you said you're the lead guy, you go in.

     24     I think you said after you got in, you did draw your

     25     weapon, correct?
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      1     A.     Yes.

      2     Q.     And that's because you don't know who's in that

      3     room, right?

      4     A.     Well, I do know who's in that room.               I know at

      5     least Mr. Rasberry is in that room.             I don't know who

      6     else is in that room.

      7     Q.     You don't know who else is in that room,

      8     particularly in the bathroom, correct?

      9     A.     Anywhere in the room.          Hiding behind the bed,

     10     hiding under the bed, hiding just around the corner by

     11     the sink where there's a small wall, anywhere.

     12     Q.     And I think your testimony was that the agents

     13     behind you, their job is to protect you as you try to

     14     take on whoever you might find?

     15     A.     You can look at it that way.            Their job's to

     16     engage whoever I encounter and I don't have to worry

     17     about something dangerous behind me.

     18     Q.     Okay.     And is it typical that they too would draw

     19     weapons at that point in time?

     20     A.     Depending on the situation.           As soon as -- by

     21     practice, as soon as they might be putting their hands

     22     on someone, they would holster up.             In that case,

     23     whether someone covered him and the other handcuffed

     24     him, whether they both had hands on him, I don't know,

     25     but we have -- our training does not have us trying to
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      1     pull somebody's arm with a gun in the other hand.

      2     That's a dangerous situation.

      3     Q.     Sure.     And he's right at the door, right?

      4     A.     Yes.

      5     Q.     And when he opens the door, he's at the door,

      6     correct?

      7     A.     He opens the door, steps back maybe 1 or 2 feet.

      8     Q.     And so if somebody had a gun out and then

      9     holstered it up when they handcuffed him, they would

     10     have had the gun out as they entered the room, correct?

     11     A.     No.     I probably drew my gun as soon as I saw him

     12     and started to cross the threshold.             I said to myself,

     13     okay, we're here, this is the right room.                I know that

     14     guy, I know his background.           I know that this is a

     15     high-risk situation.

     16                  I would have drawn my gun probably as I

     17     stepped over the threshold.           They may have done that

     18     behind me as well.        One of them may have drawn and

     19     covered him while the other placed him in handcuffs.                    I

     20     don't know, but there's a number of ways it could have

     21     happened.

     22     Q.     But it sounds like 2 or 3 officers are stepping

     23     over the threshold with guns drawn as my client is

     24     taking a step, 1 or 2 steps back into the room.

     25     A.     I can tell you that when the door opened, I know
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      1     I entered the room and when I crossed that threshold

      2     and saw him, I knew that the -- you know, I was in a

      3     high-risk situation.        I would draw my weapon at that

      4     point.

      5                    I don't know whether they drew weapons outside

      6     and stepped in, whether they did it as they crossed the

      7     threshold.       I can't see behind me.

      8     Q.       Did he offer you any resistance to your entering

      9     the room?

     10     A.       No.

     11     Q.       Did he try to flee from the room?

     12     A.       No.

     13     Q.       Did he just take a step back and stand there?

     14     A.       Momentarily until other people had contact with

     15     him, yes.

     16     Q.       Did you ask his permission to enter the room?

     17     A.       No.

     18     Q.       And that's because you viewed that you already

     19     had consent to enter the room?

     20     A.       Yes.

     21     Q.       And who was it that handcuffed Mr. Rasberry?

     22     A.       I don't know.     It was either Agent Sullivan --

     23     not Agent Sullivan, it was either Agent LaPierre or

     24     Officer Flynn.        I don't know exactly.        I was facing the

     25     other way at the time.         I know -- whether they did it
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      1     together or one of them did it, I don't know.

      2     Q.      You were focused on other things at that point.

      3     A.      At that point, yes.

      4     Q.      But had you discussed that you would be the lead

      5     guy and that somebody else would detain Mr. Rasberry?

      6     A.      No.   We just know in that situation what normal

      7     practice is for an entry into a space.

      8     Q.      So it did not come as a surprise to you that

      9     somebody had put Mr. Rasberry in handcuffs as you

     10     entered the room with guns drawn?

     11     A.      No, not at all.

     12     Q.      And you said it only took a few seconds for you

     13     to clear the room to make sure no one was hiding under

     14     the bed or in the bathroom, correct?

     15     A.      Right.    Time expands, but certainly within 5 to

     16     10 seconds, we knew that Mr. Rasberry was the only one

     17     in there.     There was nobody under a bed, there was

     18     nobody hiding behind a bed or in the shower stall or

     19     anywhere.

     20     Q.      And then you holster your weapon at that point in

     21     time?

     22     A.      As soon as I know there's no threat, yes.

     23     Q.      And are the other officers' weapons holstered at

     24     that point in time?

     25     A.      They would be normally, yes, if not earlier.
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      1     Again, if we're having physical contact with someone,

      2     if people are in line with our training, they wouldn't

      3     have a weapon drawn and have physical contact with

      4     someone.      If you're cuffing someone up, your weapon is

      5     holstered.

      6     Q.     Do you know as you sit here who it was that

      7     handcuffed Mr. Rasberry?

      8     A.     I don't.     I think it was Officer Flynn, but I'm

      9     not sure.

     10     Q.     And is it typical under those circumstances where

     11     there's a security threat and someone's in handcuffs to

     12     perform a pat down simultaneously?

     13     A.     Not necessarily.

     14     Q.     It's not?      Do you know whether Officer Flynn did,

     15     in fact, perform a pat down on him?

     16     A.     My understanding is he did not.

     17     Q.     He did not?       Have you read the Government's

     18     response?

     19     A.     I don't know that I have.

     20     Q.     Had you met with Ms. Lipez before this hearing?

     21     A.     Yes.

     22     Q.     And did you know in her response she said that

     23     there was a, quote-unquote, cursory pat down?

     24                 MS. LIPEZ:     Objection, Your Honor.           I don't

     25     think that's an appropriate question for this witness.
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      1                  THE COURT:    Overruled.      You can answer the

      2     question.

      3     BY MR. LEVINE:

      4     Q.     She said that there was a cursory pat down.

      5     A.     I heard that there was a very brief examination

      6     of his lumbar area to -- with his handcuffs behind his

      7     back, but there was nothing immediately reachable

      8     there, yes.

      9     Q.     All right.      So you said that you heard that;

     10     where did you hear that?

     11     A.     Whether it was in discussions with the prosecutor

     12     or with the other officers.

     13     Q.     Did you have any discussion with my client about

     14     the fact that he had already been patted down before

     15     you patted him down?

     16     A.     No.

     17     Q.     You did not?

     18     A.     I had discussion with him to say I'm going to pat

     19     you down for weapons now.

     20     Q.     Did you know that Officer Flynn had emptied out

     21     his pockets and looked at a bandanna that was folded in

     22     the pocket?

     23     A.     I remember a bandanna being on the bed, yes.                     I

     24     don't know if it came from his pocket or where.                  I

     25     remember seeing a bandanna because there was some
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      1     residue in it, but I don't know where it came from.

      2     Q.     Is it typical to remove items from a pocket that

      3     aren't weapons during the pat down search?

      4     A.     Sometimes.

      5     Q.     Does that include a bandanna?

      6     A.     I don't know where it came from, so I don't know

      7     if it came from --

      8     Q.     You don't know that it didn't come from his

      9     pocket, right?

     10     A.     You are correct.

     11     Q.     And, in fact, you do understand that there was

     12     some sort of search of his pocket or his crotch area or

     13     his body prior to your pat down search?

     14     A.     I don't know of any examination of his crotch

     15     area prior to my pat down search.             I know after the

     16     fact that, if anything, a very brief examination of his

     17     lumbar area where his hands were eliminated the

     18     possibility that he had a gun or some other weapon

     19     tucked into his waistband where his hands could reach.

     20     Q.     Would he --

     21                THE COURT:      Pardon me, just so that the record

     22     will be clear and my understanding of the evidence

     23     would be clear, are you asking him what he -- what he

     24     -- when you said understand, what he understood at the

     25     time he decided to perform his search, his frisk or are
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      1     you asking what he understood or understands as of

      2     today?

      3                    MR. LEVINE:    Um, well, I'm asking both, I

      4     guess.

      5                    THE COURT:    I'm going to ask you if you would

      6     make it specific as to which or both of those

      7     situation -- time frames you're inquiring about.

      8     BY MR. LEVINE:

      9     Q.       When did you first become aware that there was

     10     another search of his lumbar region?

     11     A.       After the fact.      At the time that I planned to

     12     pat him down, I was unaware that anybody had done any

     13     pat down search.

     14     Q.       You deny that my client said to you I've already

     15     been searched?

     16     A.       I don't know whether he did or not and his

     17     opinion on it would not factor into my decision whether

     18     or not to protect myself.

     19     Q.       All right, and you don't remember saying to him

     20     who searched you?

     21     A.       No.

     22     Q.       And you don't remember him saying that guy?

     23     A.       No.

     24     Q.       And you don't remember telling him that you were

     25     going to do it again?
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      1     A.     I told him that I was going to pat him down for

      2     weapons and I wasn't looking to debate the issue with

      3     him.

      4     Q.     Now, you're saying that that conversation didn't

      5     happen or that you just don't remember that

      6     conversation?

      7     A.     I have no flawless way to determine.               I know that

      8     I told him that I was going to pat him down for

      9     weapons.      I know that at that point, I was unaware of

     10     him being patted down for weapons previously.

     11     Q.     You had cleared the room as far as security,

     12     right, I think you said in 15 seconds.              You had

     13     holstered your weapon and at that point, the focus

     14     turned to a search of the hotel room; is that correct?

     15     A.     For some of the members, yes.            Like I said, I

     16     went and got my vehicle, brought it over, encountered

     17     the cabbie outside, got the agent that was out back.

     18     Q.     And so the other agents were tossing the room; is

     19     that right?

     20     A.     Some.

     21     Q.     Looking in drawers, right?

     22     A.     Yes.

     23     Q.     Under mattresses, in closets, right?

     24     A.     I don't think there was a closet in the room, but

     25     if there was, yes.
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      1     Q.     Looking in the bathroom, right?

      2     A.     Yes.

      3     Q.     In the toilet, correct?

      4     A.     Um-hmm.

      5     Q.     And that takes a little while, correct?

      6     A.     Depending on what a little while means, but yes.

      7     Q.     And you leave the room during that period of

      8     time, correct?

      9     A.     Yes.

     10     Q.     And you go outside and you talk to the cab

     11     driver?

     12     A.     Yes.

     13     Q.     And Mr. Rasberry had mentioned that he had

     14     ordered a cab; is that right?

     15     A.     I remember him saying something along those

     16     lines, yes.

     17     Q.     And you told him he wasn't under arrest, correct?

     18     A.     I told him he was not under arrest.               He was being

     19     detained, yes.

     20     Q.     But he wasn't free to leave at that point?

     21     A.     Correct.

     22     Q.     He wasn't free to get out and go to the cab if he

     23     wanted?

     24     A.     That is correct.

     25     Q.     And your purpose in going outside wasn't just to
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      1     tell the cab driver to leave, correct?

      2     A.     That's also correct.

      3     Q.     You wanted to interview the cab driver?

      4     A.     Yes.

      5     Q.     Find out who he was picking up?

      6     A.     Yes.

      7     Q.     Find out if he picked up this person before?

      8     A.     Yes.

      9     Q.     Do further investigation?

     10     A.     Um-hmm, yes.

     11     Q.     Try to build probable cause?

     12     A.     I don't know why I'd build probable cause toward,

     13     but just to learn information, yes.

     14     Q.     Well, it's been 3 or 4 years and you still didn't

     15     have an arrest warrant, right?

     16     A.     Yes.

     17     Q.     So you were still working on probable cause,

     18     correct?

     19     A.     Yes.

     20     Q.     And then you went back to your car?

     21     A.     I went and got my car before I encountered the

     22     cabbie, but yes.

     23     Q.     What did you do in your car?

     24     A.     I drove it over and parked it in one of the

     25     vacant spots out in front of the room that we were in.
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      1     Q.     And so you just moved it?

      2     A.     Moved it, got some of the materials that we would

      3     need for the search of the room, inventory sheets,

      4     evidence bags, rubber gloves.

      5     Q.     How long were you gone?

      6     A.     Two minutes.       It was about a -- I went and got

      7     Agent Sullivan, said we're clear, hopped in my car

      8     which was 50 yards away on a small side street and

      9     drove it over to the space, so I was gone 2 or

     10     3 minutes.

     11     Q.     2 or 3 minutes, but then you interviewed the

     12     cabbie, correct?

     13     A.     I believe I went back to the room because I think

     14     the cabbie came back just after I returned to the room

     15     where somebody said hey, there's a cab out front.

     16     Knowing the lot was almost empty and based on Mr.

     17     Rasberry's statement, I said okay, that cab is related

     18     to this investigation.         So I went back outside and

     19     probably spent 3 or 4 minutes with the cabbie, looking

     20     at his license, getting the information on his cab,

     21     asking him a few questions.

     22     Q.     Taking any notes?

     23     A.     I think I had some, yes, from the interview of

     24     the cabbie.

     25     Q.     And did you record that conversation?
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      1     A.      No.

      2     Q.      Did you learn anything useful from the cab

      3     driver?

      4     A.      Yes.

      5     Q.      Anything that led to probable cause to arrest my

      6     client?

      7     A.      On that day?

      8     Q.      Yes.

      9     A.      No.

     10     Q.      And then you went back to the room, correct?

     11     A.      Yes.

     12     Q.      So now you'd been gone 2 or 3 minutes to move the

     13     car, 3 or 4 minutes to talk to the cab driver, so 5 to

     14     7 minutes total, something like that?

     15     A.      Sure.

     16     Q.      And Mr. Rasberry's remained in handcuffs all that

     17     time?

     18     A.      My recollection, still standing in the

     19     approximate area where he had been encountered just to

     20     the right of the door as one enters the room.

     21     Q.      Would it be customary to leave somebody 5 to

     22     7 minutes in handcuffs before conducting a pat down

     23     search?

     24     A.      It would not be all unusual.           It could be 20 or

     25     30 minutes, sometimes depending on what else is going
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      1     on.

      2     Q.     Isn't a pat down search for the purpose of

      3     weapons?

      4     A.     It is.

      5     Q.     And isn't that the immediate threat?

      6     A.     Well, there are priorities and this is a

      7     situation where Mr. Rasberry's detained.                He is

      8     fundamental to the center of this many year

      9     investigation and I certainly had reason to believe

     10     that there is criminal activity taking place.

     11                So it's not in my mind oh, I'll pat him down

     12     and we'll get him out the door.            He's detained while

     13     our search continues because I didn't know at that

     14     point if we would find a large amount of drugs in the

     15     closet, in the bathroom, in the toilet tank and he

     16     would become arrestable.          So as the search was

     17     unfolding, as we were continuing to move forward with

     18     our limited resources, he remained detained and because

     19     he was handcuffed, was not seen as a threat, but was

     20     simply under detention.

     21     Q.     So -- so your purpose in detaining him at that

     22     point was not so much to protect yourself from him, but

     23     to conduct a search that might lead to drugs that might

     24     lead to his arrest?

     25     A.     My purpose in detaining him is that he was key to
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      1     this investigation.        I had volumes of information of

      2     him being the head of a significant drug trafficking

      3     organization.      I had fresh information from who I

      4     believed to be a credible eyewitness to say that he was

      5     in possession of more drugs in the room, and while the

      6     situation unfolded, yes, I'm balancing the safety of

      7     the team, which we've addressed pretty well, so in my

      8     mind he's simply being detained in a safe way at that

      9     point.

     10     Q.       Well, yeah, but what you said was I didn't want

     11     to search him and find he didn't have a weapon and then

     12     have to let him go; isn't that what you just said?

     13     A.       What I said was I wouldn't have to let him go.

     14     My implication is that was maybe what you were

     15     implying, that we were one quick pat down away from him

     16     being released.       At that point he wasn't being

     17     released, but he was not yet under arrest.

     18     Q.       But the point is -- because there's a distinction

     19     between a Terry type stop and an arrest, right?

     20     A.       Certainly.

     21     Q.       The point is you've detained him for safety

     22     purposes, right?

     23     A.       I've detained him for -- no, not just for safety

     24     purposes, because he's, by my investigation, the head

     25     of this enormous drug trafficking organization and I
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      1     wouldn't simply encounter him and send him on his way.

      2     I would -- he'd be detained because he's suspected of

      3     committing a crime.

      4     Q.     So what is what you did with him with guns drawn,

      5     with handcuffs behind his back, with him in handcuffs

      6     for 5 to 7 minutes or more before you even bothered to

      7     conduct your own pat down, how does that differ from an

      8     actual arrest?

      9                 MS. LIPEZ:     Objection, Your Honor.           That's

     10     asking for a legal conclusion.

     11                 THE COURT:     Overruled.      You can answer the

     12     question.

     13     A.     Could you say it again, sir.

     14     BY MR. LEVINE:

     15     Q.     How does what you did to him, while he's being

     16     detained in handcuffs, after entering at gunpoint,

     17     before you even bother 5 to 7 minutes later to conduct

     18     your own pat down, differ from the actual arrest?

     19     A.     Well, based on my training, and I have not

     20     attended one day of law school, but frequently people

     21     who are suspected of committing crimes are detained.

     22     Depending on the situation, they are detained in

     23     handcuffs and long before they're ever arrested and

     24     charged with a crime.

     25                 That happens very, very frequently, and in
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      1     this case I knew that I had what my investigation

      2     showed as a head of a large organization who had a

      3     history of violence, and I had encountered him in a

      4     place where an eyewitness told me there were additional

      5     drugs.

      6                 So in my mind, it was very clear, which is why

      7     I communicated to him more than once you're not under

      8     arrest right now, you're being detained.                If someone

      9     looked at it in a non-legal way and just saw someone in

     10     cuffs they might say oh, they're arrested now, but in

     11     my mind, he certainly was not.            I might have had to let

     12     him go.

     13     Q.       Right.     And you said it yourself, you said I

     14     didn't have to let him go even if I stopped and frisked

     15     him, I could have further detained him.

     16     A.       Correct.

     17     Q.       Even if the frisk came up clean.

     18     A.       Correct.

     19     Q.       And yet you didn't bother doing that for at least

     20     5 to 7 minutes?

     21     A.       You have to do things in whatever order we can.

     22     The urgency to do that, his condition, either being in

     23     the condition of having a weapon that was a threat to

     24     us or not having a weapon, that condition wasn't going

     25     to change.
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      1     Q.       The fact is you weren't merely searching for

      2     weapons at the time you patted him down, you were

      3     searching for drugs?

      4     A.       That's not correct.

      5     Q.       Okay.    Because prior to that you had tossed the

      6     room or your agents had tossed the room, correct?

      7     A.       Had begun searching the room.

      8     Q.       And they hadn't found any drugs, correct?

      9     A.       So far during the search, although they had found

     10     drug-related articles.

     11     Q.       Okay and it's a small room?

     12     A.       Yes.

     13     Q.       And you had believed that there would be drugs in

     14     that room?

     15     A.       My information said that, yes.

     16     Q.       Right.    And your 3 or 4-year investigation

     17     suggested that?

     18     A.       Possibly.

     19     Q.       So your focus at that point was where are the

     20     drugs?

     21     A.       My focus was carrying out the consent search that

     22     I had authorization for.          My focus was trying to move

     23     the investigation forward.          My focus was using whatever

     24     legal means I had to investigate Mr. Rasberry and see

     25     if he was committing crimes.
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      1     Q.     Right.     And your focus though was not searching

      2     him for weapons.       He's in handcuffs, right?

      3     A.     Yes, but not -- go ahead.

      4     Q.     And he's been in handcuffs for 5 to 7 minutes?

      5     A.     Correct.

      6     Q.     And you've been out of the room during that

      7     period of time?

      8     A.     Yes.

      9     Q.     And there are other agents who are armed with

     10     weapons in the room, correct?

     11     A.     Yes.

     12     Q.     They're all trained just like you are?

     13     A.     Yes.

     14     Q.     They're all trained to perform a frisk of a

     15     suspect?

     16     A.     Yes.

     17     Q.     They all know that this is a potentially

     18     dangerous suspect?

     19     A.     Yes.

     20     Q.     And yet it comes as a surprise to you that

     21     somebody actually did pat him down before you patted

     22     him down?

     23     A.     That day, my information was in my mind it hadn't

     24     been done yet and I was going to do it because yes,

     25     you're right, he's in handcuffs, but if he's not going
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      1     to be arrested -- I'm sensitive to the amount of time,

      2     as you say, that I can keep someone handcuffed without

      3     arresting them because it becomes a de facto arrest.                    I

      4     know that if he's not arrested, those handcuffs are

      5     going to come off.

      6     Q.     Right.     And you're so sensitive to that that you

      7     go out and move your car, you go back and you interview

      8     the cabbie and you take some notes and you come back in

      9     and now a matter of minutes has passed and he's still

     10     standing there in handcuffs, correct?

     11     A.     Yes.

     12     Q.     And all that had to be done to remove the

     13     handcuffs was to give him a simple pat down, correct?

     14     A.     Yes, which is why I did it.

     15     Q.     Which took a matter of seconds, right?

     16     A.     It does.

     17     Q.     Now, you wrote an affidavit, correct?

     18     A.     I did.

     19     Q.     And you described for the Court what you did in

     20     support of your arrest of Mr. Rasberry, correct?

     21     A.     Yes.

     22     Q.     And you didn't describe entering the room at

     23     gunpoint, correct?

     24     A.     No, I don't believe so, but I would -- if we're

     25     going to talk about my affidavit, I would ask to --
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      1     Q.     Do you want to look at it?

      2     A.     Could I look at it?

      3                MS. LIPEZ:      Your Honor, can I ask which

      4     affidavit?      There have been several ones.

      5                MR. LEVINE:      It's the affidavit that was

      6     attached to the complaint -- okay, and it's entitled

      7     affidavit of Paul Wolf and it's dated July 16, 2015.

      8            Judge, may I approach?

      9                THE COURT:      You may.

     10     BY MR. LEVINE:

     11     Q.     So I'll show you what I'll have marked as

     12     Defendant's Exhibit 1 entitled affidavit of Paul Wolf;

     13     do you recognize that to be your affidavit?

     14     A.     I do.

     15     Q.     And is it signed by you?

     16     A.     Yes.

     17     Q.     And that was prepared in connection with a

     18     complaint for the arrest of Todd Rasberry on charges of

     19     possession with intent to distribute cocaine and

     20     heroin, correct?

     21     A.     Yes.

     22     Q.     And you wrote that affidavit, correct?

     23     A.     Um, yes.     It's my affidavit.

     24     Q.     And you signed that affidavit?

     25     A.     I did.
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      1     Q.     And you signed it under oath?

      2     A.     Yes.

      3     Q.     In front of Judge Rich, correct?

      4     A.     Yes.

      5     Q.     And you described the operative events of the day

      6     of his arrest, correct?

      7     A.     Yes.

      8     Q.     And prior to swearing to this under oath in front

      9     of a judge, it's important that you include all of the

     10     details, correct?

     11     A.     No.

     12     Q.     It's not?

     13     A.     No.

     14     Q.     You did mention the term de facto arrest,

     15     correct?

     16     A.     Yes.

     17     Q.     And you mentioned that in your testimony just

     18     now, correct?

     19     A.     Yes.

     20     Q.     And you mentioned that you were sensitive to the

     21     amount of time that a person remains in handcuffs prior

     22     to their actual arrest, correct?

     23     A.     Yes.

     24     Q.     And you mentioned that because your sensitive to

     25     that because the longer somebody remains in handcuffs,
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      1     the more likely it becomes what's called a de facto

      2     arrest, correct?

      3     A.     Yes.

      4     Q.     And so in connection with this affidavit, you did

      5     discuss your pat down, correct?

      6                  THE COURT:    Your what?

      7     BY MR. LEVINE:

      8     Q.     Your pat down.

      9     A.     Yes.    If we're going to talk about it, I would

     10     like to review it.

     11     Q.     Okay.     Go ahead and review it.

     12     A.     Yes.

     13     Q.     And does that refresh your recollection?

     14     A.     Yes.

     15     Q.     And you described you performed the pat down,

     16     correct?

     17     A.     Yes.

     18     Q.     You don't describe any other pat down that

     19     occurred before the arrest, correct?

     20     A.     Correct.

     21     Q.     You don't describe leaving the room for two

     22     minutes to move your car, correct?

     23     A.     No.

     24     Q.     You don't describe coming back to the room and

     25     then leaving the room again for 3 to 4 minutes to talk
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      1     to the cabbie?

      2     A.     No.

      3     Q.     You don't discuss the passage of time that Mr.

      4     Rasberry was in handcuffs?

      5     A.     No.

      6     Q.     And in fact, you say a short time later with

      7     regard to how soon you perform the pat down, correct?

      8     A.     That is accurate.

      9     Q.     Is it fair to say that the way you've written

     10     that, it sounds like you never left the room, you never

     11     went outside, you never came back in, you never went

     12     outside again, you never came back in again.                 Instead,

     13     it all happened within that short period of time where

     14     you're all in the room having entered with guns drawn?

     15     A.     I don't get that impression.            I think it's

     16     completely accurate, and without putting every detail

     17     of who came and went and where people were standing,

     18     every detail is not in my affidavit.             I think it's

     19     completely accurate where it says, a short time later,

     20     I did a pat down frisk.         I would say in this case, a

     21     short time later probably means within 15 minutes,

     22     which is fairly soon.

     23     Q.     But you didn't say within 15 minutes?

     24     A.     I did not.

     25     Q.     You said a short time later, correct?
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      1     A.     Yes.

      2     Q.     Thank you.      I asked you whether it's important to

      3     put all the relevant details in your affidavit,

      4     correct?

      5     A.     Yes.

      6     Q.     And you said no?

      7     A.     Actually you asked me if I put all details into

      8     my affidavit and I don't.          I mean I think in the early

      9     paragraphs, it will spell out that these are not all of

     10     the facts that are known to me, simply enough to

     11     establish probable cause, et cetera.

     12     Q.     You know that before this hearing, there was an

     13     ex parte motion before Judge Levy about another

     14     incident involving you in 2005 where your report was

     15     not complete, correct?

     16     A.     Is that your opinion, that my report was not

     17     complete?

     18     Q.     All right, so let's break this down.               You know

     19     that there was a discussion in front of Judge Levy

     20     about a prior report that you had written, correct?

     21     A.     Yes.

     22     Q.     And that prior report took place in 2005?

     23     A.     Yes.

     24     Q.     And in 2005, that report was about a similar

     25     entry into a house without a warrant, correct?
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      1     A.       Yes.

      2     Q.       And that report was about the way in which you

      3     entered and whether or not there was actual consent to

      4     enter?

      5     A.       Those were things that were debated, yes.

      6     Q.       Okay.     And it was debated by the U.S. Attorney

      7     and the Boston office of DEA, correct?

      8                 MS. LIPEZ:     Objection, Your Honor.

      9                 THE COURT:     Basis of the objection?

     10                 MS. LIPEZ:     I believe this calls for Agent

     11     Wolf to answer about -- information that's not within

     12     his personal knowledge and asking for him to comment on

     13     hearsay of others, which I do not believe is

     14     appropriate under 608(b).

     15                 THE COURT:     All right.      Well, I'll sustain the

     16     objection.       Attorney Levine, you can inquire though as

     17     to the extent of his personal knowledge.

     18     BY MR. LEVINE:

     19     Q.       Was this an investigation of your conduct?

     20     A.       Mine and others, yes.

     21     Q.       And was your conduct called into question?

     22     A.       It was.

     23     Q.       And was your conduct called into question by our

     24     own U.S. Attorney's Office?

     25                 MS. LIPEZ:     Objection, Your Honor.           Again, I
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      1     don't believe this is appropriate cross-examination

      2     under 608(b).      I believe appropriate questions should

      3     go to the defendant's -- excuse me, the witness's own

      4     conduct.

      5                THE COURT:      The objection's sustained.

      6     BY MR. LEVINE:

      7     Q.     You know by your training that it's important to

      8     include all relevant details?

      9     A.     I disagree.

     10     Q.     And you disagree that it's your job to notify the

     11     prosecutor what you did and how you did it?

     12     A.     You need to be more specific.

     13     Q.     Okay.     Well, why do you disagree that you

     14     shouldn't put all relevant details in your report?

     15     A.     Well, again we're talking about an affidavit, but

     16     even in a report, not all details that are known to me

     17     are placed into it or other agents.             Sometimes that's

     18     to protect confidential sources, sometimes it's to

     19     protect a wiretap.        You never put anything that isn't

     20     true, but it doesn't mean that you put in every single

     21     fact that you know is true.

     22     Q.     Well, why didn't you put in the fact that you

     23     went out to the car and came back in and went out to

     24     the car -- the cab and came back in and, in fact, it

     25     wasn't just a short time later, there was intervening
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      1     events; why didn't you put that in?

      2                MS. LIPEZ:      Your Honor, may I have a

      3     clarification, are we still talking about the affidavit

      4     here or are we talking about the report?

      5                MR. LEVINE:      I'm talking about the affidavit.

      6                MS. LIPEZ:      Thank you.

      7     A.     Because in my mind, it was just that, a short

      8     time later and if I went outside to get an evidence bag

      9     or I went to get more rubber gloves or if I stepped

     10     outside to make a telephone call, it did not have any

     11     bearing on Mr. Rasberry's detention or his status and,

     12     in fact, I knew that I was well within my rule of

     13     thumb, or the rule of thumb that I'm trained, which is

     14     investigative detentions have about a 45-minute shelf

     15     life and when you get beyond that, you're starting to

     16     get into troubling areas, unless your investigation is

     17     moving forward.

     18                I encounter this very frequently with motor

     19     vehicle stops, with detentions of persons on the

     20     street.    There's a line that you start to get close to

     21     where you have to be careful unless your investigation

     22     is moving forward.        If the drug dog is coming from

     23     45 minutes away, okay, your detention can continue.

     24                The detention of Mr. Rasberry, based on my

     25     history, training, et cetera, was relatively brief
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      1     before he got to the point where he was arrested.

      2     BY MR. LEVINE:

      3     Q.       Is it relevant that he had been patted down by

      4     somebody else before he was patted down by you?

      5     A.       If that had taken place, it would be relevant,

      6     yes.

      7     Q.       And you acknowledge that something had taken

      8     place?

      9     A.       I know now after talking to the prosecutor that

     10     some minor examination of his lumbar area, far short of

     11     a full pat down search, which would have located other

     12     items that I found in his cargo shorts, something like

     13     that had taken place, but certainly there had been no

     14     pat down of Mr. Rasberry until I did it.

     15     Q.       Had you read Sergeant Flynn's report?

     16     A.       I don't know.

     17     Q.       And are you aware that, in fact, that bandanna

     18     was taken out of his pockets?

     19     A.       As I sit here now, no.        I remember seeing a

     20     bandanna on the bed, but I don't know if it came from

     21     his pocket or the table or what.

     22     Q.       And are you aware that other items were taken out

     23     of his pockets?

     24     A.       No.

     25     Q.       Um --
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      1     A.     I recall that I took keys out of his pockets.                    I

      2     think I took a flip phone out of his pocket, some

      3     amount of currency.

      4     Q.     The prosecutor made reference to your written

      5     report.    You also wrote a written report, correct?

      6     A.     I did.

      7     Q.     And in that written report, did you include any

      8     details about the back and forth to the car and to the

      9     cab?

     10     A.     No because I normally wouldn't talk about every

     11     coming and going or every trip I made to go and make a

     12     phone call or -- to me there's an endless amount of

     13     details that can go into a report.             You take the ones

     14     that are -- have an impact on the case and you try to

     15     include as many of those as possible.

     16                MR. LEVINE:      That's all I have.

     17                THE COURT:      Thank you.

     18                MR. LEVINE:      Judge, I would like to move for

     19     -- actually, I won't move the admission.                Thank you.

     20                THE COURT:      All right.      Thank you, Attorney

     21     Levine.    Attorney Lipez, any redirect?

     22                MS. LIPEZ:      Yes, Your Honor.        Briefly.

     23                           REDIRECT EXAMINATION

     24     BY MS. LIPEZ:

     25     Q.     Agent Wolf, in your 20 years of experience as a
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      1     DEA agent, is it typical that you might investigate a

      2     drug trafficker for 3 or 4 years without being able to

      3     make an arrest?

      4     A.     Yes.

      5     Q.     And why is that?

      6     A.     An arrest of that person.

      7     Q.     Yes.

      8     A.     Because there are varying levels of skill in that

      9     industry and some are relatively easy to catch in that

     10     they do their own work, but the nature of the

     11     organizations that I encounter around here is that they

     12     prey upon others to do their work for them.

     13                They place layers between themselves and the

     14     police so that they may even be sitting in a different

     15     state taking drug orders, picking up another phone and

     16     sending a runner to go and make deliveries of drugs.

     17     It's not unusual.        It may take years in order to

     18     apprehend a target that uses layers like that.

     19     Q.     And so in this particular case, did you feel

     20     frustrated that it had taken so long or was that just

     21     typical in your line of work?

     22     A.     Um, this, I would say, was longer than some other

     23     cases, but I think it is an indication of the -- of the

     24     organization itself and their methods.              It may also be

     25     an indication of my methods, but it did take a long
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      1     time in order to get here.

      2     Q.     Now, there was some questions about the keycard

      3     not working.      Had you used hotel keycards in your

      4     personal experience, either personally or in your line

      5     of work before?

      6     A.     Yes.

      7     Q.     And had you ever had the experience of a keycard

      8     to a room that you're staying in, for example, not work

      9     for whatever reason?

     10     A.     Yes.

     11     Q.     So that -- strike that.          What is your estimate of

     12     time between when you entered the room and when you

     13     ultimately place Mr. Rasberry under arrest, if you're

     14     able to estimate?

     15     A.     I think it's actually a little higher than Mr.

     16     Levine described.        I think it's probably somewhere

     17     between 15 and 20 minutes.

     18     Q.     And obviously going through the chronology

     19     described, the pat down happened before the arrest; is

     20     that right?

     21     A.     Yes.

     22     Q.     And so how much time are we talking between the

     23     entry into the room and the pat down in your

     24     estimation?

     25     A.     Well, the pat down and the arrest were
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      1     simultaneous, so again, 15 to 20 minutes.

      2     Q.     All right.      So the pat down happened and the

      3     arrest was within --

      4     A.     As soon as I felt the object, talked to him about

      5     it, I said you're under arrest right now and I'm going

      6     to search you.

      7     Q.     And there was some questions about detention

      8     versus handcuffs.        Would you agree that handcuffs in

      9     this case were in order to protect you and the other

     10     agents; is that fair?

     11     A.     A variety of things.         There's a possibility that

     12     myself or the other agents could be involved in a

     13     fight, a physical struggle.           There's a possibility that

     14     seated three feet from the door a defendant might, not

     15     handcuffed, make a leap for the door and try to out run

     16     us to try to escape.        Much harder to do if your

     17     handcuffed.

     18                 Again, at that point we don't know what's in

     19     the room.     Is there a gun under one of the pillows that

     20     we haven't found yet?         We don't know.       So it's to

     21     immobilize someone who's a suspect who's being detained

     22     and prevent them from a variety of things that would

     23     not be good.

     24     Q.     Would you agree that detention is not the same

     25     thing as being handcuffed in terms of a Terry stop?                     In
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      1     other words, someone can be detained and not be in

      2     handcuffs; is that --

      3                 MR. LEVINE:     Objection, leading.

      4                 THE COURT:     I'm not sure I understand the

      5     question.     Please restate it.

      6     BY MS. LIPEZ:

      7     Q.     Have you ever detained someone in a Terry stop

      8     without handcuffing them?

      9     A.     Yes, frequently.

     10     Q.     So when you use the word detain, you don't

     11     necessarily mean handcuffed; is that fair?

     12     A.     That's right.       I try to communicate with people

     13     that I'm interacting with.          I like -- if I was them, I

     14     would like to know what my status is, so I try to

     15     communicate with them and update them.

     16                 You're being detained, you're not free to go,

     17     you need to sit right there.           You aren't being

     18     detained, you can leave now, you can get in your car

     19     and you can go.       You're under arrest.         You know, I try

     20     to take away the mystery for people that I interact

     21     with so that they can know what their status is.

     22     Q.     And detention can happen either with or without

     23     handcuffs depending on the scenario?

     24     A.     It's very situational, yes.

     25     Q.     In this case though, is it fair that you would
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      1     not have felt comfortable removing Mr. Rasberry's

      2     handcuffs --

      3                 MR. LEVINE:     Objection.      Leading, Judge.

      4                 THE COURT:     Sustained.

      5     BY MS. LIPEZ:

      6     Q.       Would you have felt comfortable removing Mr.

      7     Rasberry's handcuffs if he had not been thoroughly

      8     searched?

      9     A.       I would be very uncomfortable doing that.

     10     Q.       Now, what in your understanding and experience is

     11     the purpose of an affidavit in support of a complaint?

     12     A.       It's to establish probable cause that a crime has

     13     taken place and reach that threshold of probable cause

     14     with the facts that support it.

     15     Q.       And you mentioned that in this particular

     16     affidavit, there's a paragraph where you indicated that

     17     you might not put every detail known to you in the

     18     affidavit; is that correct?

     19     A.       Yes.   That's my standard language in an affidavit

     20     to say this is not everything I know about this

     21     situation.      The purpose of it is to reach that

     22     threshold of probable cause that a crime has been

     23     committed.

     24                 MS. LIPEZ:     I have no further questions, Your

     25     Honor.
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      1                THE COURT:      Thank you.      Attorney Levine.

      2                            RECROSS EXAMINATION

      3     BY MR. LEVINE:

      4     Q.      I want to read to you from Paragraph 14 from your

      5     affidavit to the Court.

      6                It says, Rasberry was placed in hand

      7     restraints and I conducted a security sweep of the room

      8     and bathroom; do you remember writing that?

      9     A.      Yes.

     10     Q.      There were no other people in the room; do you

     11     remember writing that?

     12     A.      Yes.

     13     Q.      I then explained our reasons for being in the

     14     room and I asked Rasberry if the room was his; did you

     15     write that?

     16     A.      I did.

     17     Q.      He said, it was not his room and he was a guest

     18     of the woman who had rented the room; did you write

     19     that?

     20     A.      I did.

     21     Q.      The next sentence is, a short time later I

     22     conducted a pat down frisk of Rasberry; is that the

     23     next sentence?

     24     A.      I'll assume it is if you're reading it, yes.

     25     Q.      Who was wearing a tank top, cargo short and gym
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      1     shoes, correct?

      2     A.       Yes.

      3     Q.       You now say it was 15 to 20 minutes after you

      4     went to the room that this pat down search and arrest

      5     took place?

      6     A.       Yes.

      7     Q.       And while it's not necessary to include every

      8     single detail in the report, you can't mislead the

      9     Court.

     10     A.       I would not do that, which is why I didn't say I

     11     then patted down Mr. Rasberry, which is why I added the

     12     words a short time later I conducted a pat down search.

     13     Q.       You didn't say 15 to 20 minutes later?

     14     A.       I do not specifically put the number of minutes,

     15     no.

     16                 MR. LEVINE:     Thank you.

     17                 THE COURT:     Anything else?       Attorney Levine,

     18     anything else?

     19                 MR. LEVINE:     I'm sorry.      No, Your Honor.

     20                 THE COURT:     And Attorney Lipez, any further

     21     questions?

     22                 MS. LIPEZ:     No, Your Honor.       May the witness

     23     be finally excused and free to leave?

     24                 THE COURT:     Yes, he may.       Thank you, agent.

     25     You can step down.
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      1                MS. LIPEZ:      The Government calls Officer

      2     Andrew Flynn, Your Honor.

      3                THE CLERK:      Please raise your right hand.                Do

      4     you solemnly swear that the testimony you will give in

      5     the cause now in hearing will be the truth, the whole

      6     truth, and nothing but the truth, so help you God?

      7                THE WITNESS:       I do.

      8                THE CLERK:      Please be seated.        And if you

      9     could please pull yourself right up to the microphone

     10     and state your first and last name for the Court.

     11                THE WITNESS:       Andrew Flynn.

     12                THE CLERK:      Spell your last name.

     13                THE WITNESS:       F-L-Y-N-N.

     14                THE CLERK:      Thank you.

     15                THE COURT:      Please proceed.

     16                MS. LIPEZ:      Thank you, Your Honor.

     17                             DIRECT EXAMINATION

     18     BY MS. LIPEZ:

     19     Q.     Where do you work, Officer Flynn?

     20     A.     I work for the Scarborough Police Department.

     21     Q.     How long have you been with the Scarborough

     22     Police Department?

     23     A.     Just over eight years.

     24     Q.     What is your particular role there?

     25     A.     I'm a police officer assigned to the Special
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      1     Enforcement Unit.

      2     Q.     What is the Special Enforcement Unit?

      3     A.     It's a unit comprised of three other officers and

      4     we do a lot of plainclothes work as well as uniformed

      5     patrol.

      6     Q.     When you say you do plainclothes work, what does

      7     that mean?

      8     A.     We work closely with the DEA, MDEA and other

      9     agencies investigating drug offenses, prostitution

     10     cases, anything that is outside the normal scope of

     11     patrol work.

     12     Q.     How long have you been with the Special

     13     Enforcement Unit?

     14     A.     This would be my -- just over three years.

     15     Q.     I would like to direct your attention to

     16     July 15th of 2015; did you receive a call that

     17     afternoon from Special Agent Paul Wolf with DEA?

     18     A.     I did.

     19     Q.     And what did he state to you in that call?

     20     A.     He informed me that him and several other agents

     21     were en route to Scarborough and requested my

     22     assistance in potentially apprehending someone at a

     23     hotel in Scarborough.

     24     Q.     And did he say -- did he give you any more

     25     details during that phone call?
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      1     A.     Not too much.       He said it was time sensitive and

      2     requested that I meet him at the police department.

      3     Q.     Did you do that?

      4     A.     I did.

      5     Q.     And what happened then at the Scarborough Police

      6     Department?

      7     A.     Once at the police department, he informed me

      8     that he was attempting to locate someone at America's

      9     Best Value Inn in Scarborough.            I was familiar with the

     10     location, I had been there on previous calls before and

     11     he requested my assistance in securing the room.

     12     Q.     And did he tell you what his plan was at the room

     13     at the hotel?

     14     A.     He advised me that he had obtained consent to

     15     search the room and indicated that we were going to go

     16     down there and attempt to make entry into the room and

     17     search the room based on the consent.

     18     Q.     And you mentioned that you'd been to America's

     19     Best Value Inn; could you describe briefly what the

     20     building looks like.

     21     A.     The building is a two floor unit.                The entry

     22     doors to the motel rooms are exterior doors.                  There is

     23     not an interior hotel like a normal hotel would be,

     24     it's more of a motel where you entered the rooms

     25     directly from the parking lot.
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      1     Q.      And the rooms, could you describe their size.

      2     A.      They're relatively small in comparison to other

      3     hotel rooms or suites.

      4     Q.      And did Agent Wolf give you any information about

      5     who, if anyone, was expected to be in the room that he

      6     wanted to search?

      7     A.      He advised me that they were going to be looking

      8     for a black male that was alleged to be in the room and

      9     supposedly involved in some type of drug trafficking.

     10     Q.      In your meeting at the Scarborough Police

     11     Department, did you discuss with Agent Wolf or any

     12     other officers a safety or operational plan?

     13     A.      We did.    We determined that we'd have one of the

     14     agents stay at the back of the hotel -- of the motel

     15     rather in case anyone in the room tried to exit out the

     16     back and then the rest of us were going to make entry

     17     at the front door.

     18     Q.      Were there any details discussed beyond that?

     19     A.      No.

     20     Q.      And what happened then after you had this

     21     discussion at the police department?

     22     A.      We all went down to the motel.           We staged in the

     23     area.    One of the agents walked up to the back window

     24     and stood by there while the rest of us went up to the

     25     front door and at that point, Agent Wolf tried the
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      1     keycard that he had for the room.             That did not work,

      2     so we knocked on the door and made contact with the

      3     male inside.

      4     Q.     Let me ask you, stepping back, do you have

      5     experience entering motel rooms with unknown occupants

      6     inside?

      7     A.     I do.

      8     Q.     And are there particular concerns that you have

      9     in situations like that?

     10     A.     There are.      While entering into an unknown area,

     11     we're on the outside coming in essentially and we're

     12     not aware of who's in the room, how many people are in

     13     the room, whether there are weapons inside of the room.

     14     We have -- there's a serious potential for some safety

     15     issues there.

     16     Q.     And who -- you mentioned that Agent Wolf tried

     17     the key to the room.        Was anyone else with you at the

     18     front door to that motel room?

     19     A.     I believe there were two other agents with me as

     20     well, DEA agents.

     21     Q.     Do you recall who they were?

     22     A.     I believe it was Agent LaPierre and Agent

     23     Sullivan.

     24     Q.     Was Agent Sullivan at the door or was he at the

     25     back of the hotel?
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      1     A.      I can't remember exactly where he was.               He may

      2     have been the agent that was at the back door.                  I

      3     believe it was me -- back window, rather.                I believe it

      4     was me, Agent Wolf and Agent LaPierre at the door.

      5     Q.      And who was closest to the door at the time that

      6     Agent Wolf tried the key?

      7     A.      He was closest at the door and then I was

      8     directly behind him.

      9     Q.      All right.     And what were you wearing at the

     10     time?

     11     A.      I was in plainclothes.         I can't remember what I

     12     had on for pants, but I had a shirt on with an external

     13     vest carrier, black vest carrier over my shirt that

     14     said police as well as a Scarborough Police Department

     15     patch on it.       I had a badge on my waist as well as

     16     police written across my back.

     17     Q.      And did you have a weapon?

     18     A.      I did, yes.

     19     Q.      Where was your weapon at the time Agent Wolf

     20     knocked on the door?

     21     A.      I had it out in the low ready position, pointed

     22     down to the ground.

     23     Q.      So unholstered, but not pointed straight forward;

     24     is that right?

     25     A.      Correct.
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      1     Q.     And what happened then once Agent Wolf knocked on

      2     the door?

      3     A.     A black male answered the door and we made entry.

      4     I immediately made contact with the male, placed him in

      5     handcuffs and stood by for further instructions from

      6     Agent Wolf.

      7     Q.     So between the time that Agent Wolf knocked on

      8     the door and you had your weapon in the low ready

      9     position at the time the door opened, you handcuffed

     10     the individual inside, what did you do with your

     11     weapon?

     12     A.     I holstered it.

     13     Q.     Did you ever point it directly at the individual

     14     who opened the door?

     15     A.     No.    If anything, I would have had it in a low

     16     ready position should I had to use it, I wanted it

     17     readily accessible.        I wouldn't have pointed it at him

     18     unless there was a threat presented to me.

     19     Q.     And when that individual opened the door, how did

     20     he react?

     21     A.     He was relatively calm.          We announced ourselves.

     22     I believe I said police and I believe the other agents

     23     may have announced DEA and we made entry into the room.

     24     He was not uncooperative with us and I advised him that

     25     he was being detained and I placed him in handcuffs.
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      1     Q.      And what were the other agents doing at the time

      2     that you placed -- well, let me ask you, did the

      3     individual who you placed in handcuffs, did you learn

      4     his name at some point?

      5     A.      I did.     I eventually determined that he was Todd

      6     Rasberry.

      7     Q.      And what were the other agents doing at the time

      8     that you were placing Mr. Rasberry in handcuffs?

      9     A.      The other agents performed a security sweep to

     10     make sure there weren't any other occupants in the

     11     room.

     12     Q.      And was anyone else in the room?

     13     A.      There was not.

     14     Q.      At the time that you handcuffed Mr. Rasberry, did

     15     you discuss the handcuffs with any of the other agents?

     16     A.      After handcuffing him, I do recall looking over

     17     at Agent Wolf and just indicating that he was placed in

     18     handcuffs and just making sure that he was okay with

     19     that and he said he was.

     20     Q.      Agent Wolf said it was okay for him to be

     21     handcuffed?

     22     A.      Correct.

     23     Q.      And why did you check with Agent Wolf to see if

     24     he was all right with that?

     25     A.      Like I said, I had very limited information.
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      1     My -- as far as what we -- what they had for

      2     information and what their reason was for entering the

      3     room and what their prior investigation was.                 I felt

      4     that my position there was strictly as a security

      5     officer to make sure that everyone was safe and based

      6     on my training, education and experience, I felt it was

      7     appropriate to place him in handcuffs.

      8     Q.      And at the time you placed him in handcuffs, did

      9     you do any sort of frisk of his person?

     10     A.      I did.    I frisked the center of his back where

     11     his handcuffs were and the intent of my frisk was to

     12     check areas that were readily accessible to him while

     13     he was still in handcuffs with his hands behind his

     14     back.

     15     Q.      In your training and experience, what would you

     16     consider to be a full or a thorough frisk of someone

     17     for weapons; what would that involve?

     18     A.      That would involve patting them down to include

     19     their legs, pants if they have pants on, checking

     20     their -- maybe feeling their shoes to see if there was

     21     anything secreted in their shoes, patting down their

     22     chest, shoulders, basically the entire body.

     23     Q.      And did you do that in this case?

     24     A.      I did not.

     25     Q.      So you mentioned that you just frisked the back
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      1     of Mr. Rasberry's pant's area; is that right?

      2     A.       Correct, where his hands would have access to.

      3     Q.       Even while cuffed?

      4     A.       Correct.

      5     Q.       And did you locate anything during the course of

      6     that frisk?

      7     A.       The only thing that I located when I patted was

      8     his rear pant's pocket, I can't remember if it was the

      9     right or left, but there was a rag folded up in his

     10     pants.     When I felt the rag, it felt like there was a

     11     bulge in it.        I removed the rag from his back pants and

     12     as I started to unfold it, I realized that the bulge

     13     that I felt was actually the way the rag was folded.

     14     It folded over upon itself to create a bulge inside of

     15     the rag.

     16     Q.       And after finding that bandanna, did you do any

     17     further frisk of any other part of Mr. Rasberry?

     18     A.       I did not.

     19     Q.       Why did you not perform a full frisk for weapons

     20     at that point?

     21     A.       Like I said, I felt that my position there was

     22     simply as a safety and security officer.                I didn't have

     23     a whole lot of information on whether or not Agent Wolf

     24     had probable cause for search or what specifically he

     25     had for in-depth intelligence into the case, so at that
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      1     point I didn't want to overstep my bounds and I just

      2     made sure that I was safe and the other agents there

      3     were safe.

      4     Q.       And what was Mr. Rasberry's demeanor like at that

      5     point?

      6     A.       He was very calm the entire time.

      7     Q.       So what happened then after you had initial

      8     interaction with Mr. Rasberry and the other agents had

      9     made sure there was no one else in the room, what

     10     happened next?

     11     A.       I basically stood by with Mr. Rasberry while the

     12     other agents conducted their investigation.                 I believe

     13     some of them started searching the room.                One of the

     14     other agents stepped outside to speak to someone.

     15     Q.       And at some point did you make any call to anyone

     16     at your department at that time?

     17     A.       I did.   For a short time I stepped outside of the

     18     room and one of the other agents, I believe it was

     19     Agent LaPierre, stood by with Mr. Rasberry while I

     20     stepped outside to call dispatch on the phone to try to

     21     locate a K9.

     22     Q.       And what was the purpose of doing that?

     23     A.       Agent Wolf had asked if we had a K9 working and

     24     we did not, but I advised him that I could contact

     25     dispatch and try to either locate one of ours or check
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      1     with mutual agencies to see if someone else had one

      2     that is working.

      3     Q.     This is a drug sniffing dog?

      4     A.     Correct.

      5     Q.     And about how long after the entry would you

      6     estimate you made this call for a K9?

      7     A.     Approximately 7 or 8 minutes.

      8     Q.     Now, at some point did you see Agent Wolf have

      9     any interaction with Mr. Rasberry?

     10     A.     He did.

     11     Q.     And what did you observe?

     12     A.     He began to speak with Mr. Rasberry.               I really

     13     didn't pay much attention to their specific

     14     conversation.      I believe that Mr. Rasberry asked if we

     15     could remove his handcuffs and I stood by and Agent

     16     Wolf said before he removed his handcuffs he was going

     17     to pat him down.

     18     Q.     Did Mr. Rasberry say anything to you about the

     19     fact that he was going to be patted down?

     20     A.     He -- I don't know if he said it directly to me,

     21     but he did announce that he had already been patted

     22     down once and I explained to him that I only patted

     23     down his immediate hands area.

     24     Q.     And then what did Agent Wolf do at that point?

     25     A.     Agent Wolf conducted a thorough pat down of him.
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      1     He located a mass inside his groin area.

      2     Q.       And did Agent Wolf say anything out loud about

      3     what he had located?

      4     A.       He did advise us that he had found something in

      5     his pants and at that time we worked on extracting the

      6     mass that he had in his pants.

      7     Q.       Before he extracted it, did he say anything to

      8     the defendant about whether his status had changed or

      9     he --

     10     A.       He may have said he was under arrest.             I'm not

     11     100-percent sure on that.          I don't know if that

     12     occurred prior to him removing the item in his pants or

     13     after.

     14     Q.       So you don't remember?

     15     A.       I don't recall, no.

     16     Q.       Was the defendant cooperative while his pants

     17     were being searched?

     18     A.       He was somewhat argumentative, not violent by any

     19     means.     He indicated that he had already been patted

     20     down once and seemed to contest the fact that we were

     21     removing what was in his pants.

     22     Q.       And what did you see was removed from his pants?

     23     A.       There was some plastic baggies with some powder

     24     inside of them.       I didn't really handle them or have

     25     much interaction with that portion.
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      1     Q.      But you do recall that at some point, Mr.

      2     Rasberry was placed under arrest?

      3     A.      Correct.

      4     Q.      Were you involved in a search of the room at all?

      5     A.      No, not at all.       Like I said, my primary focus

      6     was as a security officer and I allowed the agents to

      7     do their investigation.

      8     Q.      You mentioned earlier that you had called for a

      9     drug sniffing dog.        Did the dog ever arrive; did that

     10     ever happen?

     11     A.      It did not.     I had dispatch -- after making a

     12     call, they were in the process of trying to locate a

     13     dog and during that time, we actually located the mass

     14     that was on Mr. Rasberry and Agent Wolf advised me that

     15     we didn't need the dog anymore.

     16     Q.      And after Mr. Rasberry was arrested, what ended

     17     up happening to him?

     18     A.      He was transported up to the police department.

     19     I went to the police department myself and obtained a

     20     cruiser with a cage in it and then I transported Mr.

     21     Rasberry to the Cumberland County Jail.

     22     Q.      And are you familiar with the Cumberland County

     23     Jail's policies when a new inmate is brought into the

     24     jail?

     25     A.      I am.
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      1     Q.     And in your experience, do they typically search

      2     people who are brought into the jail under arrest?

      3     A.     Yes.

      4                 MS. LIPEZ:     Your Honor, may I approach?

      5                 THE COURT:     You may.

      6     BY MS. LIPEZ:

      7     Q.     I've shown you what I've marked as Government's

      8     Exhibit 1 for identification; do you recognize that

      9     document?

     10     A.     I do.

     11     Q.     What is it?

     12     A.     It is a call for service slip that our dispatch

     13     initiated on this call.

     14     Q.     And how did that work?

     15     A.     When we -- any type of activity that we have,

     16     dispatch generally will generate a call slip for us

     17     documenting our response times and brief notes as to

     18     what we tell them over the radio or what we enter into

     19     the call slip ourselves.

     20     Q.     And again, that particular slip, Government's

     21     Exhibit 1, relates to the activities you've just

     22     discussed occurring on July 15, 2015?

     23     A.     Correct.

     24                 MS. LIPEZ:     Your Honor, I move the admission

     25     of Government's Exhibit 1.
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      1                THE COURT:      Is there any objection?

      2                MR. LEVINE:      No, Your Honor.

      3                THE COURT:      Government's 1 is admitted.

      4     BY MS. LIPEZ:

      5     Q.     Officer Flynn, what is the first timestamp entry

      6     on that dispatch log?

      7     A.     First timestamp entry is the creation of the call

      8     at 1629 hours.

      9     Q.     So that would be 4:29 p.m.?

     10     A.     Correct.

     11     Q.     And what does creation of the call mean?

     12     A.     That's when dispatch created the -- entered the

     13     call into the computer.

     14     Q.     And what is the next entry on that.

     15     A.     The next entry is a note entered by dispatcher

     16     Thornton at 1630 hours, which says assisting DEA.

     17     Q.     So that's 4:30?

     18     A.     Correct.

     19     Q.     And what's next on the log?

     20     A.     After that is another entry at 4:30 p.m. by

     21     dispatcher Thornton indicating -- requesting a K9.

     22     Q.     And that would have been your call for a K9?

     23     A.     Correct.

     24     Q.     So you testified previously that you think you

     25     made the call for the K9 maybe 7 or 8 minutes after the
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      1     entry; is that right?

      2     A.      Correct.

      3     Q.      So it looks like the dispatch log is not entirely

      4     contemporaneous with the entry, but actually starts

      5     when you make your K9 call; is that fair?

      6     A.      Correct.     It appears that the call slip wasn't

      7     generated at the time of our entry.             Instead, it was

      8     generated when I called them and advised them that we

      9     were at that location and were requesting a K9.

     10     Q.      Does the call slip indicate at what time the

     11     interaction in the hotel room ended?

     12     A.      It doesn't show the time that it ended.               The only

     13     time it shows is when I transported Mr. Rasberry to the

     14     jail.

     15     Q.      And would that have been from the hotel or from

     16     the police station?

     17     A.      From the police station.

     18     Q.      And what time was that?

     19     A.      That was at 1704 or 5:04 p.m.

     20     Q.      So presumably you would have had to leave the

     21     hotel at some point before 5:04 p.m. to get to the

     22     police station, change cruisers and then meet?

     23     A.      Correct.     The hotel is a very short distance from

     24     the police station, so probably less than a mile.

     25     Q.      All right.     So how many minutes would you say --
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      1     how many minutes prior to leaving the police station

      2     would you estimate you left the hotel room with Mr.

      3     Rasberry?

      4     A.       Probably 5 to 6 minutes.

      5     Q.       All right.    So sometime slightly before 5:00 p.m.

      6     he was removed from the hotel room?

      7     A.       Correct.

      8                 MS. LIPEZ:     I have no further questions, Your

      9     Honor.

     10                 THE COURT:     Thank you.      Attorney Levine.

     11                              CROSS-EXAMINATION

     12     BY MR. LEVINE:

     13     Q.       Good afternoon.

     14     A.       Good afternoon.

     15     Q.       So you work for Scarborough PD?

     16     A.       I do.

     17     Q.       And not the MDEA?

     18     A.       Correct.

     19     Q.       And you were called as a security person on this

     20     detail?

     21     A.       Correct.

     22     Q.       And you were familiar with the area?

     23     A.       I was.

     24     Q.       And it's a hotel motel?

     25     A.       Yes, sir.
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      1     Q.       Two stories?

      2     A.       Yes, sir.

      3     Q.       Small rooms?

      4     A.       Yes, sir.

      5     Q.       Open to the parking lot?

      6     A.       Correct.

      7     Q.       And you were not in uniform, you were in

      8     plainclothes?

      9     A.       I did have a uniform on.        Not the consistent

     10     patrol uniform, but I did have markings indicating I

     11     was a police officer.

     12     Q.       Were you wearing what's called a ballistic vest?

     13     A.       I was.

     14     Q.       And carrying a weapon?

     15     A.       I was.

     16     Q.       And were you briefed by Agent Wolf before you

     17     engaged in this operation?

     18     A.       I was.

     19     Q.       How long did that take?

     20     A.       He advised me it was a time sensitive issue, so

     21     the briefing was probably a minute or two.

     22     Q.       And what did he tell you?

     23     A.       He advised me that he or one of the agents had

     24     obtained consent to search a room at the Millbrook

     25     (sic).     He provided me with a room number and requested
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      1     my assistance in securing the room while we made entry.

      2     Q.       Did he tell you who would be inside?

      3     A.       He did not.

      4     Q.       You said before you entered you had your gun at

      5     the ready position; is that right?

      6     A.       I did.

      7     Q.       Why is that?

      8     A.       We were entering an unknown area, unknown

      9     threats.       Because I had my gun out doesn't mean that I

     10     planned to use it, but if I did need to use it, I

     11     wanted to have it readily accessible.

     12     Q.       Did he give you any idea of the threat that you

     13     faced?

     14     A.       He didn't.     He did advise me it was a drug

     15     trafficker, but as I said, I wasn't familiar with his

     16     investigation or his case so I had limited information.

     17     Q.       Did he tell you anything about the drug

     18     trafficker?

     19     A.       No.

     20     Q.       Did he tell you whether he was an armed drug

     21     trafficker?

     22     A.       No.

     23     Q.       Did he tell you if he was from out-of-state?

     24     A.       No.

     25     Q.       Did he tell you the color of the drug trafficker?
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      1     A.       He said it was a black male that was believed to

      2     be in the room.

      3     Q.       And who else was at the room when you entered?

      4     A.       Just Mr. Rasberry.

      5     Q.       No, no, no, I'm sorry, who else on the -- from

      6     the police side was at the room.

      7     A.       For Scarborough police, there was no one else.

      8     It was just drug agents.

      9     Q.       So you and two other drug agents?

     10     A.       There was a third drug agent as well that was on

     11     the back side of the motel.

     12     Q.       Okay.   Do you remember the names of the other two

     13     that were with -- I'm sorry, Wolf was with you and then

     14     who else was with you at the door?

     15     A.       I believe Agent LaPierre was behind me at the

     16     door and Agent Sullivan was on the back side of the

     17     motel.

     18     Q.       Okay.   And did either Wolf or LaPierre have their

     19     guns drawn?

     20     A.       I don't recall.

     21     Q.       But you did have your gun drawn?

     22     A.       Yes.

     23     Q.       And that was because of what Wolf had told you?

     24     A.       That was because I was entering an unknown area.

     25     I didn't know what the drugs were in there.
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      1     Q.      And that would have been standard operating

      2     procedure?

      3     A.      Yes, sir.

      4     Q.      And that would have been standard operating

      5     procedure for members of DEA just like members of

      6     Scarborough Police Department?

      7     A.      I don't know what their standard operating

      8     procedures are.       I know based on what I've been

      9     trained.

     10     Q.      And did you see their guns drawn at any point in

     11     time?

     12     A.      I don't recall if they had their guns out or not.

     13     Q.      Was it discussed who was going to handcuff the

     14     suspect?

     15     A.      It was not.

     16     Q.      How was it that you were the one that did that?

     17     A.      I was directly behind Agent Wolf when he made

     18     entry into the room.         He immediately continued into the

     19     room.    I was the next one through the door.               I observed

     20     Mr. Rasberry and I went over to him and placed him in

     21     handcuffs.

     22     Q.      And he did not give you any resistance?

     23     A.      He did not.

     24     Q.      He didn't try to charge you?

     25     A.      No.
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      1     Q.      He didn't try to flee out the window?

      2     A.      No.

      3     Q.      He was handcuffed without incident?

      4     A.      Correct.

      5     Q.      And you said that you were taking your direction

      6     from Agent Wolf at that time?

      7     A.      He wasn't really giving me direction at that

      8     time, but he was the person in charge of the

      9     investigation, I'd say.

     10     Q.      And when you handcuffed Mr. Rasberry, wouldn't

     11     standard operating procedure be to pat him down?

     12     A.      Correct.

     13     Q.      And that would be a full pat down, not a cursory

     14     pat down?

     15     A.      It depends on the situation.           As I said, I wasn't

     16     familiar with Agent Wolf's investigation and I felt

     17     that I was there to ensure safety and I did what I

     18     needed to do to make sure everything was safe.

     19     Q.      And so you mentioned reaching into his pockets?

     20     A.      Correct.     I patted down his rear pant's pocket

     21     and I don't recall if it was the right or the left, but

     22     I did locate something in one of those pockets.

     23     Q.      Okay and you pulled it out of the pocket?

     24     A.      I did.     I felt that it had a -- what felt like a

     25     lump inside of it, so I removed it.
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      1     Q.      And did you think the lump might be a weapon?

      2     A.      I wasn't sure what it was.           I wasn't sure if it

      3     was something hidden inside the pants or inside of the

      4     cloth or what it was, if it was a weapon or contraband.

      5     Q.      And what about his front pockets?

      6     A.      I didn't have the need to pat those down.                  His

      7     handcuffs were behind his back.            He wouldn't have

      8     access to his front pockets.

      9     Q.      You didn't take out anything else out from his

     10     pockets?

     11     A.      There may have been a set of keys.               I don't

     12     recall if I took those out or if those were taken -- I

     13     know he had a set of keys on him, but I don't know if

     14     they were removed by me or one of the other agents

     15     later in the evening.

     16     Q.      Do you know if those were in his front pocket or

     17     back pocket?

     18     A.      I don't recall.

     19     Q.      It's possible that you did take them out?

     20     A.      It's possible.

     21     Q.      And it's possible you took them out from his

     22     front pocket?

     23     A.      I wouldn't know.       I don't know where I took them

     24     from if I did take them.

     25     Q.      If you did take them out of his front pocket,
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      1     that must have meant that you did pat his front pocket,

      2     correct?

      3     A.      It's possible.

      4     Q.      And so you don't recall whether you did or didn't

      5     pat the front pocket?

      6     A.      Correct.

      7     Q.      But your concern at that point was weapons?

      8     A.      Correct.

      9     Q.      Not drugs?

     10     A.      Correct.

     11     Q.      And you weren't the one searching the room?

     12     A.      Correct.

     13     Q.      Did you see Wolf enter first?

     14     A.      Wolf was directly in front of me, yes.

     15     Q.      And did you see a gun in his hand as he searched

     16     the room?

     17     A.      Like I said, I don't recall if he had his gun out

     18     or not.

     19     Q.      And did -- who conducted this -- once Wolf had

     20     cleared the room, in other words established that there

     21     was no one else in hiding, who conducted the search of

     22     the room?

     23     A.      I'm not sure.       Like I said, my focus was on Mr.

     24     Rasberry, making sure he didn't do anything that he

     25     shouldn't.
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      1     Q.      Okay.    So you were there with him for some period

      2     of time?

      3     A.      I was.

      4     Q.      Standing by his side?

      5     A.      Yes.

      6     Q.      Did officers -- Agent Sullivan come in at some

      7     point in time?

      8     A.      He did at some point, yes.

      9     Q.      And was he and LaPierre, were they the ones

     10     searching the room for drugs?

     11     A.      I'm not sure if they were searching or if they

     12     were standing by and waiting for further instructions

     13     from Agent Wolf.

     14     Q.      You don't know if they were looking under

     15     mattresses and drawers, up and down, high and low

     16     trying to see if there were any drugs in the room?

     17     A.      I don't know.

     18     Q.      You said that you called for a K9; is that right?

     19     A.      That's correct.

     20     Q.      And you said that this dispatch log doesn't

     21     accurately reflect the amount of time that you were

     22     actually in the room, correct?

     23     A.      I'm confused by your question.

     24     Q.      Okay.    It says here that you were -- 1629, in

     25     other words 4:29, that you were -- received the call
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      1     and then a minute later, assisting DEA and then that

      2     same minute requesting K9; would that all happen in the

      3     course of one minute?

      4     A.      Correct.     There was, like I said before, I

      5     believe that the call slip was generated when I called

      6     dispatch, advised them I was at the motel and

      7     requested -- to see if they could locate a K9 that was

      8     able to respond there.

      9     Q.      So how many minutes passed before you called for

     10     the K9?

     11     A.      I would guess approximately 7 or 8 minutes.

     12     Q.      And was he in handcuffs those 7 or 8 minutes?

     13     A.      He was.

     14     Q.      And was Wolf in the room those 7 or 8 minutes?

     15     A.      Wolf was in and out of the room.            I know for a

     16     brief moment he stepped out to speak with someone

     17     outside.

     18     Q.      And how many minutes before Wolf came back and

     19     patted down my client?

     20     A.      I don't know how many minutes that was.

     21     Q.      All right.      Was it 30 minutes?

     22     A.      If I had to estimate, I would guess maybe

     23     20 minutes.

     24     Q.      And any reason my client wasn't patted down any

     25     sooner than 20 minutes in handcuffs?
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      1     A.       I don't know what -- I guess I don't know what

      2     you're asking.

      3     Q.       Why keep him in handcuffs waiting for 20 minutes

      4     if all you had to do was a pat down?

      5     A.       As I said, that's a question for Agent Wolf.

      6     Like I said, my job was to be a safety officer there.

      7     Mr. Rasberry expressed interest in having his handcuffs

      8     removed and Agent Wolf, I believe, advised him that if

      9     he was going to remove his handcuffs, he was going to

     10     pat him down and check the area where he was going to

     11     be sitting first.

     12     Q.       So it wasn't until Mr. Rasberry complained that

     13     he had been in handcuffs for 20 minutes that somebody

     14     decided to do a pat down?

     15     A.       Well, I did an initial pat down when I first

     16     placed him in handcuffs.

     17     Q.       And was Agent Wolf aware that you had done the

     18     initial pat down?

     19     A.       I'm not sure if he was or not.

     20     Q.       You described a discussion that took place

     21     because my client said I've already been patted down,

     22     right?

     23     A.       Correct.

     24     Q.       Repeat to had me what that discussion was.

     25     A.       He made mention when -- when Agent Wolf began
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      1     patting him down, he expressed to Agent Wolf that he

      2     had already been patted down once and I told him that

      3     he hadn't been thoroughly patted down.               I had just

      4     checked the area where his hands were.

      5     Q.      Okay.    So you're standing right next to him at

      6     that time?

      7     A.      Correct.

      8     Q.      And Agent Wolf is standing right next to you?

      9     A.      Correct.

     10     Q.      Because he's patting down my client?

     11     A.      Correct.

     12     Q.      And your job is to secure my client?

     13     A.      Correct.

     14     Q.      And so Agent Wolf hears what you say to my

     15     client, right?

     16     A.      I believe so, yes.

     17     Q.      And he hears, in fact, that there had been a pat

     18     down?

     19     A.      I explained to your client that he had hadn't

     20     been thoroughly patted down and I just checked the

     21     areas around his hands where he was handcuffed.

     22     Q.      Did you explain that to Agent Wolf?

     23     A.      I would assume he overheard me say it to your

     24     client.

     25     Q.      Did he ask you the extent of your pat down?
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      1     A.      He did not.

      2                 MR. LEVINE:      That's all I have.

      3                 THE COURT:      Attorney Lipez.

      4                            REDIRECT EXAMINATION

      5     BY MS. LIPEZ:

      6     Q.      Officer Flynn, you've mentioned that you've

      7     conducted drug investigations before.              It's one of the

      8     things you do; is that right?

      9     A.      That's correct.

     10     Q.      And you described the drugs being found in the

     11     crotch area of Mr. Rasberry's shorts.              Have you ever

     12     seen drug traffickers hide drugs in that location

     13     before?

     14     A.      I have.

     15     Q.      So that's something that's familiar to you?

     16     A.      It is.

     17     Q.      Did you search the crotch area or -- excuse me,

     18     strike that.      Did you pat down the crotch area of Mr.

     19     Rasberry's shorts in your initial frisk of him?

     20     A.      I did not.

     21     Q.      Did you search his ankle or shoe area or any

     22     other part of him?

     23     A.      I did not.

     24     Q.      And again, what did you tell Mr. Rasberry when

     25     Agent Wolf started to frisk him and he said he had
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      1     already been frisked; what did you say to him?

      2     A.      I explained to him -- I don't know my exact

      3     wording, but I explained to him that I had just checked

      4     the area where his hands were and what would be

      5     accessible to him while he was in handcuffs.

      6                 MS. LIPEZ:      No further questions, Your Honor.

      7                 THE COURT:      Thank you.     Attorney Levine, any

      8     further questions?

      9                 MR. LEVINE:      No, Your Honor.

     10                 THE COURT:      All right.     Thank you, officer.

     11     You can step down.

     12                 THE WITNESS:      Thank you.

     13                 MS. LIPEZ:      Government calls Agent Tom

     14     LaPierre, Your Honor.

     15                 THE COURT:      All right.     I think we'll use this

     16     as an opportunity to take a short break.

     17            What's your estimate of how long Agent LaPierre's

     18     testimony will require?

     19                 MS. LIPEZ:      I would estimate 15 minutes.

     20                 THE COURT:      All right.     And then you have a

     21     fourth witness?

     22                 MS. LIPEZ:      I have Agent Sullivan, who I

     23     expect will be shorter.

     24                 THE COURT:      All right, thank you.          We will

     25     take a 5 to 10-minute recess.
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      1                 (Time noted: 3:30 p.m.)

      2                 (Recess called).

      3                 (Time noted: 3:46 p.m.)

      4                 THE COURT:      All right.     We're back on the

      5     record and we have a new witness on the stand, so you

      6     will need to be sworn.

      7                 THE CLERK:      Please raise your right hand.                Do

      8     you solemnly swear that the testimony you will give in

      9     the cause now in hearing will be the truth, the whole

     10     truth, and nothing but the truth, so help you God?

     11                 THE WITNESS:      Yes, I do.

     12                 THE CLERK:      Please be seated.        If you can pull

     13     yourself right up to the microphone and state your

     14     first and last name for the Court.

     15                 THE WITNESS:      Thomas LaPierre,

     16     L-A-P-I-E-R-R-E.

     17                 THE COURT:      Please proceed.

     18                 MS. LIPEZ:      Thank you, Your Honor.

     19                             DIRECT EXAMINATION

     20     BY MS. LIPEZ:

     21     Q.      Agent LaPierre, where do you currently work?

     22     A.      I currently work for Biddeford Police Department,

     23     but assigned to the federal Drug Enforcement as a task

     24     force officer.

     25     Q.      How long have you been, first, with the Biddeford
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      1     Police Department?

      2     A.      A little over 13 years.

      3     Q.      And how long have you been a task force officer

      4     with DEA?

      5     A.      A little over eight years.

      6     Q.      And what are your duties as a task force officer?

      7     A.      I generally just investigate -- investigating

      8     drug offenses.

      9     Q.      And what does it mean to be -- how does that work

     10     that you work for Biddeford police, but are a federal

     11     task force officer; what does that mean in terms of

     12     your capability and what you're allowed to do?

     13     A.      Well, I have all rights and authorities as a

     14     Biddeford police officer.           I also am assigned all

     15     rights and authorities as a federal drug agent.

     16     Q.      And so you could swear out affidavits in federal

     17     court and things like that?

     18     A.      Yes.

     19     Q.      And again, you've been a task force officer with

     20     DEA for eight years you said?

     21     A.      Yes.

     22     Q.      I'd like to direct you to July 15th of 2015.

     23     Were you assisting Special Agent Paul Wolf with an

     24     investigation on that date?

     25     A.      Yes, I was.
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                                  LaPierre-Direct/Lipez

      1     Q.      And how did your assistance on that day begin?

      2     A.      It began by a surveillance, just out in the

      3     parking lot watching traffic.

      4     Q.      And who were you surveilling for?

      5     A.      Watching for a female that was supposed to arrive

      6     and provide for one of our informants.

      7     Q.      And where did this occur?

      8     A.      The Clarion parking lot in Portland, Maine.

      9     Q.      And did you all eventually see the woman you were

     10     looking for?

     11     A.      Yes, we did.

     12     Q.      And briefly, what happened after she arrived?

     13     A.      I was advised that the informant got a call

     14     saying she was close by.          I believe Agent Wolf was the

     15     one that located her across the street in a gas station

     16     parking lot.      We moved over to that parking lot and

     17     approached her there.

     18     Q.      And did she eventually give Agent Wolf -- did you

     19     see her give him drugs?

     20     A.      I knew she pulled off to the side and spoke with

     21     Agent Wolf for a short time and I was notified that she

     22     provided drugs to him.

     23     Q.      And did you hear about what, if any, information

     24     she had given -- excuse me, that she had given to Agent

     25     Wolf?
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      1     A.      After he spoke to her for a short time, he came

      2     out of the vehicle and talked to the rest of us telling

      3     us that she said that her source of supply was in

      4     Scarborough, Maine, and had some more drugs, was

      5     waiting for her arrival.

      6     Q.      And did you hear whether she had said who the

      7     source of supply was?

      8     A.      She did.     She told us or to him that it was

      9     Champagne.

     10     Q.      And were you aware at that point that Agent Wolf

     11     had been leading an investigation into an individual

     12     known as Champagne?

     13     A.      Yes.    I had been part of surveillance in previous

     14     times going back as far as a year for undercover buys

     15     and such.

     16     Q.      And what did you know about Champagne at this

     17     point on July 15th?

     18     A.      I knew he was from out-of-state, knew he was very

     19     elusive, very hard to find, often had some violence

     20     history, had a vast network of people he used to help

     21     cover himself.

     22     Q.      Now, after learning from this woman that

     23     Champagne was in Scarborough, did you learn

     24     specifically where he was believed to be?

     25     A.      Yes.    A hotel complex, a motel, it was -- I
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      1     forget the room number, but it was the American Hotel,

      2     I think, Suites, something like that.

      3     Q.      And what did you all decide to do after learning

      4     that information?

      5     A.      Made a very quick plan to move to that location

      6     and I was told that -- from Agent Wolf that he had been

      7     given consent to go search that apartment and look for

      8     any more drugs that may be inside.

      9     Q.      When you say apartment, do you mean --

     10     A.      I'm sorry, the motel room, yes.

     11     Q.      Did you then proceed to the hotel eventually?

     12     A.      Yes, we did.

     13     Q.      And who arrived at the hotel first; if you can

     14     recall?

     15     A.      I did.    After a short plan, my vehicle was best

     16     to go -- provide surveillance inside the lot, you could

     17     hide better.      I went inside very close to the room and

     18     maybe 5 to 10 minutes before everybody else arrived.

     19     Q.      And what did you do then once you had pulled into

     20     the parking lot at the hotel?

     21     A.      I just shut my vehicle down and watched the front

     22     door, front window to make sure no one -- take note of

     23     anyone entering, leaving.

     24     Q.      And was this the door to the specific room you

     25     had been told about?
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      1     A.      Yes.

      2     Q.      And did you see anyone going in and out of that

      3     room?

      4     A.      I did not.

      5     Q.      You said that you arrived about 5 to 10 minutes

      6     before any other officers?

      7     A.      Yes.

      8     Q.      Who arrived after you arrived?

      9     A.      I saw Special Agent Kris Sullivan arrive and go

     10     around to the back and then Agent Wolf arrived along

     11     with Patrol Officer Flynn from Scarborough.

     12     Q.      And did you all have any discussion of safety

     13     planning or an operational plan before going to this

     14     room?

     15     A.      Just a very quick one.         The potential for

     16     violence, that he potentially carried a firearm.

     17     Q.      And that was a conversation you had with Agent

     18     Wolf?

     19     A.      Yes.

     20     Q.      What happened then after the other agents

     21     arrived?

     22     A.      As I say, Agent Sullivan went to the rear, I

     23     didn't speak to him, but Agent Wolf and Officer Flynn

     24     walked along the edge of the building.               Once they got

     25     to me, I joined with them and went to the door.
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      1     Q.      And this is a door that entered -- excuse me,

      2     came out to the -- strike that.            It was a door straight

      3     to the outside; is that right?

      4     A.      Yes.    No hallway.      Just one door in and out.

      5     Q.      And the room was on the first floor?

      6     A.      Yes.

      7     Q.      So what happened then after you and Agent Wolf

      8     and Officer Flynn get to the door of the room you're

      9     looking for?

     10     A.      Agent Wolf stood in the front.            He had a magnetic

     11     key that could gain access to the room.                  He tried it

     12     probably 3 or 4 times.          It didn't work.          He tried

     13     knocking on the door.         Maybe the second or third knock,

     14     as he did that the door opened by itself.

     15     Q.      And so Agent Wolf was closest to the door; is

     16     that right?

     17     A.      Yes.

     18     Q.      Where were you?

     19     A.      I believe I was number two with Officer Flynn

     20     behind me.

     21     Q.      And were you all standing directly in front of

     22     the door or off to the side?

     23     A.      We were off to the left.          There was a window that

     24     appeared to be access to that room to the right of the

     25     door that was partially covered by a blind, so we stood
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      1     to the left of that door.

      2     Q.      And what were you wearing at the time?

      3     A.      Regular street clothes, but I have a common entry

      4     vest.    It's fully marked police all over it, as well as

      5     my badge clipped to the chest.

      6     Q.      And were you armed on that day?

      7     A.      Yes, I was.

      8     Q.      And where was your weapon at the time Agent Wolf

      9     was knocking on the motel room door?

     10     A.      Holstered.

     11     Q.      So what happened then after he knocked on the

     12     door?

     13     A.      It was opened by a black male inside, not a

     14     person I recognized.         Agent Wolf said we're here for

     15     consent search.       As he did so, he took a step in,

     16     opening the door more.          He immediately addressed the

     17     man inside as, I believe, Champagne or Mr. Rasberry or

     18     something to that effect.

     19     Q.      And did you follow him into the room?

     20     A.      Yes, I did.      Agent Wolf stepped to the side and I

     21     stepped to the front of the man sitting in the door.

     22     Q.      And did Officer Flynn also come into the room?

     23     A.      Yes, he did.

     24     Q.      What did you do once you entered the room?

     25     A.      I kind of stood to the front of Mr. Rasberry.
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      1     Agent Wolf moved to the left to provide cover down the

      2     length of the room.         Officer Flynn came from my right,

      3     immediately starting putting Mr. Rasberry in handcuffs.

      4     Q.      Did you pull your weapon at any time after you

      5     entered the room?

      6     A.      After maybe 3 or 4 seconds, put handcuffs on him,

      7     I stepped to the left, saw Agent Wolf had deployed his

      8     weapon and was moving towards a closed or partially

      9     closed door in the bathroom.           I withdrew my weapon and

     10     post the door to the bathroom and moved left inside.

     11     Q.      So you and Agent Wolf both approached the

     12     bathroom with weapons drawn?

     13     A.      Yes.

     14     Q.      And did you find anyone in the bathroom?

     15     A.      No.

     16     Q.      What did you do after that?

     17     A.      We holstered while we were inside there.

     18     Q.      You and Agent Wolf both?

     19     A.      I believe Agent Wolf did.          I know I did before I

     20     stepped out.

     21     Q.      Did you point your weapon at Mr. Rasberry at any

     22     time?

     23     A.      No.

     24     Q.      And did you see anyone else point the weapon at

     25     Mr. Rasberry?
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      1     A.       No.

      2     Q.       And so you said Officer Flynn had handcuffed Mr.

      3     Rasberry; is that right?

      4     A.       Yes.

      5     Q.       So what happened after he had been handcuffed and

      6     you determined that there was nobody else in the room.

      7     A.       We start to settle down and just come up with a

      8     plan on how we're going to search, what our next steps

      9     are, addressing Mr. Rasberry as well as stripping down,

     10     take off some of our outer body armor.

     11     Q.       Who -- you said someone had addressed Mr.

     12     Rasberry?

     13     A.       Yes.

     14     Q.       Who was that?

     15     A.       I believe between Officer Flynn and Agent Wolf,

     16     they had talked to him, confirmed his identity.                  Asking

     17     him why he was there, things like that.

     18     Q.       Do you recall him saying anything else specific

     19     to him?

     20     A.       There was a conversation about whether or not it

     21     was his room, why he was there, what his purpose was

     22     there.     He said it wasn't his room, he was visiting a

     23     friend.        Didn't have any property in the room.

     24     Q.       Do you recall whether anyone talked to him about

     25     whether he was under arrest or not?
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      1     A.       He was told he was just being detained at the

      2     moment.

      3     Q.       What happened then as that conversation is going

      4     on?

      5     A.       As that began, there was movement in and out.                   I

      6     went outside to go grab some evidence bags, take my

      7     vest off.       I was out maybe 2 or 3 times.            Agent Wolf

      8     was in and out talking on the phone with someone 2 or 3

      9     times.

     10     Q.       And Officer Flynn for the most part then stayed

     11     with Mr. Rasberry; is that right?

     12     A.       Yes.

     13     Q.       What about Agent Sullivan?

     14     A.       By that time, Agent Sullivan had come around the

     15     building -- took a minute or two, he had come around

     16     the building and entered into that room.

     17     Q.       At some point did you start searching the room?

     18     A.       Yes.   Probably within 15 minutes, 10 or

     19     15 minutes.

     20     Q.       Did you see whether Agent Wolf spoke to anybody

     21     outside the motel?

     22     A.       Yes.   At one point I walked outside to put my

     23     vest away.       There was a young couple in a car that got

     24     very nervous when they saw me, recognized me as police,

     25     made a very bad U-turn on to the grass to get out of
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      1     the area.      Within 30 seconds of that, a cab pulled into

      2     the lot and pulled in immediately in front of the door

      3     that we were searching.

      4     Q.      And did you see whether Agent Wolf spoke to that

      5     cab driver?

      6     A.      I actually approached him first, asked him what

      7     he was there for.        He said he was there for a fare at

      8     the same room that we were in.            I told him hang on for

      9     a minute.      He was on the phone.        I went inside, I could

     10     hear a phone ringing inside.           I told Agent Wolf about

     11     the cab outside and he went outside and spoke with him.

     12     Q.      At some point did you start searching the room?

     13     A.      About that time when I came in.

     14     Q.      And what, if anything, did you find during your

     15     search of the room?

     16     A.      Immediately to the left, there's a very small

     17     bureau or vanity.        There was some needles and

     18     paraphernalia underneath that.            There was a cellphone,

     19     a cable nearby and that was about it for myself.

     20     Q.      And was anyone else searching the room at the

     21     same time?

     22     A.      Yes.    Agent Sullivan was in the bathroom.              I

     23     think that was it.        He came out eventually and helped

     24     me in the room.

     25     Q.      And while you two were searching, did you notice
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      1     whether Agent Wolf had any further interaction with Mr.

      2     Rasberry?

      3     A.      As I was almost done the search, I noticed that

      4     Agent Wolf started talking to him.             He asked me a few

      5     times if I found anything.           I said nothing in violation

      6     and at that point, Agent Wolf started talking with Mr.

      7     Rasberry.

      8     Q.      Were you able to overhear any of that

      9     conversation?

     10     A.      A little bit.

     11     Q.      What did you hear?

     12     A.      I heard him asking if there was anything

     13     dangerous on him.        He kind of -- Agent Wolf asked the

     14     rest of us had he been searched yet.              He told us he was

     15     going to release him from handcuffs.              I spoke up and

     16     said I never searched him.

     17                 I heard Agent -- or Officer Flynn say that he

     18     had checked the general area of his back where his

     19     hands were.      That was it.

     20     Q.      Did Agent Wolf then proceed to pat down Mr.

     21     Rasberry?

     22     A.      Yes.    He told him there was no violations here,

     23     there's no reason to arrest him, but before we took the

     24     handcuffs off, we want to check for any dangerous

     25     weapons.
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      1     Q.      Did you see him do that?

      2     A.      Yes, I did.

      3     Q.      And what did you observe?

      4     A.      I noticed from the front Agent Wolf start

      5     searching his waistband and moving down his legs,

      6     in-between his legs in the crotch area.                  As he got to

      7     the crotch, I could not immediately see it, but I heard

      8     him start asking what is this, what's in your pants and

      9     that's when I looked over, stopped and looked over.

     10     Q.      And what did you observe at that point?

     11     A.      Agent Wolf asking Mr. Rasberry what's in your

     12     pants, what is that?

     13     Q.      And again, this was the exterior of the pants

     14     he's feeling?

     15     A.      Yes.    He's still on the outside.

     16     Q.      And then what happened after Agent Wolf asked him

     17     those questions?

     18     A.      Mr. Rasberry said it was himself.                Agent Wolf

     19     said no, it's too big, it's too hard.              There's

     20     something other than your body here.

     21     Q.      And what did Agent Wolf do at that point?

     22     A.      He advised him you're no longer detained, you're

     23     now under arrest and I'll be searching your further.

     24     Q.      Did he search him further?

     25     A.      Yes, he did.
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      1     Q.      And what did you see?

      2     A.      Entered from the front of his pants.               I don't

      3     know if he had to pull them down or just open up his

      4     pants, I don't recall, but then reached up inside

      5     between the pants and his underwear, started removing

      6     something out of there.

      7     Q.      And what did you see that was removed?

      8     A.      A plastic packed ball, maybe about the size of a

      9     softball.

     10     Q.      And what did it appear to be?

     11     A.      It appeared to be concealed drugs wrapped in a

     12     plastic.

     13     Q.      And Mr. Rasberry at some point was transported to

     14     the jail after that?

     15     A.      Yes.

     16     Q.      What are -- are you able to estimate the time

     17     from the initial entry to the time Mr. Rasberry was

     18     taken to jail?

     19     A.      Estimate 20 to 25 minutes.           We weren't there

     20     long.

     21     Q.      For the entire interaction?

     22     A.      Entire, yes.

     23                 MS. LIPEZ:      I have no further questions.

     24                 THE COURT:      Thank you.     Attorney Levine.

     25                 (Continued on the following page)
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      1                              CROSS-EXAMINATION

      2     BY MR. LEVINE:

      3     Q.      So it sounds to me -- first of all, good

      4     afternoon.

      5     A.      Hi.

      6     Q.      It sounds to me like three of you at the door all

      7     had weapons; is that right?

      8     A.      Holstered, but the general part of my duties.

      9     Q.      And at some point in time, all of you had

     10     unholstered your weapons?

     11     A.      I don't believe Officer Flynn ever unholstered.

     12     Q.      You're not aware that he, in fact, did unholster

     13     his weapon?

     14     A.      He may have, but as I said, he was in the stack

     15     behind me.      I didn't see it.

     16     Q.      And you did see Agent Wolf unholster his weapon?

     17     A.      Yes.

     18     Q.      And he unholstered his weapon as soon as he got

     19     inside the room?

     20     A.      Maybe within 2 or 3 steps as he cleared Mr.

     21     Rasberry.

     22     Q.      Okay.    And same with you?

     23     A.      After I approached Mr. Rasberry and moved him 2

     24     or 3 steps into the room, once I saw he was in

     25     handcuffs and then I walked away, yes.
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      1     Q.      So who put him in handcuffs?

      2     A.      Officer Flynn.

      3     Q.      How long did that take?

      4     A.      Maybe 2 or 3 seconds.

      5     Q.      And are they the plastic sort of handcuffs or are

      6     they --

      7     A.      No.    General police, metal, reusable handcuffs.

      8     Q.      That only takes 2 or 3 seconds to put somebody in

      9     handcuff?

     10     A.      He was vest compliant.         He didn't fight.         He

     11     turned around.       He offered up his hands.            They were put

     12     on very quickly.

     13     Q.      And as soon as you clear him, you see Wolf with

     14     his weapon drawn?

     15     A.      Yes.

     16     Q.      And you draw your weapon?

     17     A.      Yes.

     18     Q.      And that's to protect you and Wolf and anyone

     19     else in the room?

     20     A.      From potential unknown threats behind the

     21     bathroom door, yes.

     22     Q.      And then you and Wolf determine that there is

     23     nobody else in the room that you need to worry about,

     24     correct?

     25     A.      Once we cleared the bathroom, yes.
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      1     Q.      And once you cleared the bathroom, you holstered

      2     your weapons?

      3     A.      Yes.

      4     Q.      And at that point in time, what do you do?

      5     A.      I then walked outside, take my vest off and

      6     start -- begin searching.

      7     Q.      Who's with Rasberry at that point?

      8     A.      Officer Flynn.

      9     Q.      And what are they doing?

     10     A.      I don't know.

     11     Q.      Did you see Officer Flynn pat down Mr. Rasberry?

     12     A.      No.

     13     Q.      Where is Agent Wolf at this point?

     14     A.      When I'm outside or inside?

     15     Q.      When you're outside taking off your body armor.

     16     A.      I believe he's inside with Officer Flynn.

     17     Q.      And do you know what he's doing inside at that

     18     time?

     19     A.      I do not.

     20     Q.      And when you get off your body armor, where do

     21     you leave it?

     22     A.      In my vehicle, secured.

     23     Q.      So is this the first floor -- are you on the

     24     first floor, Room 109?

     25     A.      Yes.
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      1     Q.      So you don't have to go downstairs?

      2     A.      No.

      3     Q.      Your vehicle is nearby?

      4     A.      It's within ten feet of the front door.

      5     Q.      Unmarked?

      6     A.      Yes.

      7     Q.      So you throw your vest in there?

      8     A.      Yes.

      9     Q.      And then you come back to the room?

     10     A.      Yes.

     11     Q.      And what did you do then?

     12     A.      I began searching.

     13     Q.      What are you searching for?

     14     A.      Drugs, contraband, anything illegal.

     15     Q.      Okay.    And why are you searching for drugs?

     16     A.      They are illegal.        It's part of my duties.

     17     Q.      Okay.    And you believed, based on what the

     18     confidential informant said, that there would be drugs

     19     in there, right?

     20     A.      Correct.

     21     Q.      So where do you search for drugs?

     22     A.      Anywhere concealable.

     23     Q.      How do you do it?        Explain to me.

     24     A.      Look under things, open drawers, move the bed

     25     apart, between the sheets, cracks, crevices, anywhere
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      1     drugs can be hidden.

      2     Q.      Toilet tank?

      3     A.      Yes.

      4     Q.      Do you find anything?

      5     A.      No.    Just paraphernalia.

      6     Q.      How long does that process take?

      7     A.      Agent Sullivan is in the bathroom.               I'm doing

      8     just the main bedroom area.           That's maybe 10,

      9     15 minutes.      There's no bags, there's no personal

     10     property.      It's very quick.

     11     Q.      Where is Agent Wolf at this time?

     12     A.      He's in and out of the -- in and out of the room

     13     making phone calls.

     14     Q.      And where is Mr. Rasberry at this point in time?

     15     A.      He's standing towards the front of the room to

     16     the right of the door.          He's like a little -- what

     17     normally would be a table area is gone.                  It was just a

     18     couple of chairs in front of the window.

     19     Q.      And who was with him?

     20     A.      Officer Flynn.

     21     Q.      Do you see Officer Flynn pat him down at any

     22     point in time?

     23     A.      No.    I'm not really focused on him, but no.

     24     Q.      And do you decide to pat him down at any point in

     25     time?
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      1     A.      I never had contact beyond the front door.

      2     Q.      Why not?

      3     A.      My duties were to search the room.

      4     Q.      And who decided that?

      5     A.      Maybe Agent Wolf or we just divided up duties

      6     real quick.       Not a lot of conversation.

      7     Q.      Okay.     And are you at all concerned how long Mr.

      8     Rasberry's remained in handcuffs?

      9     A.      No.

     10     Q.      You said he was -- was he instructed that he was

     11     being detained?

     12     A.      He was.

     13     Q.      Was he instructed that he was not under arrest?

     14     A.      I believe so, yes.

     15     Q.      What's the difference?

     16     A.      I don't think we explained it to him.               He was

     17     told he was being detained, yes.

     18     Q.      Okay.     You didn't explain he wasn't under arrest?

     19     A.      We explained he was being detained while we

     20     searched the area until we did -- finished our

     21     investigation.

     22     Q.      So did you or anyone else say to him you are not

     23     under arrest?

     24     A.      By those words?       I don't recall.       Not myself.

     25     Q.      Do you recall anyone else saying that to him?
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      1     A.      No.

      2     Q.      You do recall someone saying to him he was being

      3     detained?

      4     A.      Yes.

      5     Q.      Who said to him he was being detained?

      6     A.      I don't recall.       Potentially myself, but I don't

      7     recall.

      8     Q.      So he was being detained, but he was not under

      9     arrest; is that the way you viewed it?

     10     A.      Yes.

     11     Q.      And what's the difference between being arrested

     12     and being detained for 20 minutes in handcuffs?

     13     A.      He had not -- we had no crimes against him.                 No

     14     reason to hold him.

     15     Q.      But you did hold him?

     16     A.      Nothing beyond his detention, yes.

     17     Q.      And what was the purpose of the 20-minute

     18     detention in handcuffs?

     19     A.      So we can complete our investigation.

     20     Q.      Well, that investigation was a search of the

     21     room, right?

     22     A.      Yes.

     23     Q.      And he wasn't interfering with a search of the

     24     room?

     25     A.      Correct.
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      1     Q.       Wasn't trying to flee?

      2     A.       Correct.

      3     Q.       Anyone at any time could have patted him down?

      4     A.       Correct.

      5     Q.       That doesn't take 20 minutes, right?

      6     A.       Correct.

      7     Q.       How long does it take to do a pat down?

      8     A.       A minute or less.

      9                 MR. LEVINE:      That's all I have.

     10                 THE COURT:      Thank you.     Attorney Lipez?

     11                 MS. LIPEZ:      I have no redirect, Your Honor.

     12                 THE COURT:      All right.     One moment, officer.

     13     Officer LaPierre, I have a question.              I believe you

     14     testified that you were there for a total of 20 to

     15     25-minutes; is that correct?

     16     A.       Yes, sir.

     17                 THE COURT:      And the hotel room, I think you

     18     said there were no bags; is that right?

     19     A.       As I recall, there were no personal property in

     20     there.

     21                 THE COURT:      All right.     Explain to me why it

     22     took 20 to 25 minutes to complete a search of that

     23     room.

     24     A.       Just checking the actual furniture itself, the

     25     beds.
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      1                 THE COURT:      Was there much down-time during

      2     that period?

      3     A.      Oh, definitely.       There was a moment of time when

      4     I was outside talking to the cabbie as well as

      5     collecting evidence bags and things needed for the

      6     search.

      7                 THE COURT:      Thank you.     Attorney Lipez, do you

      8     have any additional questions based on my questions?

      9                 MS. LIPEZ:      I do, Your Honor.

     10                            REDIRECT EXAMINATION

     11     BY MS. LIPEZ:

     12     Q.      Agent LaPierre, when -- what do you understand

     13     down-time to mean?        Was it -- strike that.

     14                 Was there any time when you weren't doing

     15     anything in furtherance of a search of the room?

     16     A.      Definitely, yes.

     17     Q.      And what was that?

     18     A.      There would have been trying to come up with a

     19     plan, what we're going to do, who's going to search

     20     which area.

     21     Q.      Okay.    So not actually searching, but talking

     22     about how you're going to conduct the search?

     23     A.      Correct.

     24     Q.      And do you typically try to do those searches

     25     carefully?
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      1     A.      Yes.

      2     Q.      Methodically?

      3     A.      Yes.

      4     Q.      And you try to document where things are found?

      5     A.      Yes, we do.

      6     Q.      You have rules for handling evidence?

      7     A.      Yes, we do.

      8     Q.      Is that why you would get an evidence bag

      9     beforehand, for example?

     10     A.      Yes.

     11                   MR. LEVINE:    Objection.      Leading, Judge.

     12                   THE COURT:    Overruled.

     13     BY MS. LIPEZ:

     14     Q.      Was there any time when you were there that you

     15     weren't doing something in furtherance of the

     16     investigation?

     17     A.      I don't believe so.

     18     Q.      Was there any time when you and the agents were

     19     just laughing and joking?

     20     A.      No.

     21     Q.      And when you were going in and out again, what

     22     was the purpose of doing that?

     23     A.      Either put something away or take something out

     24     of my vehicle.

     25     Q.      For purposes of continuing in the search?
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      1     A.       Yes.

      2     Q.       And again, you spoke to the cab driver why?

      3     A.       He stated -- it was suspicious that he showed up

      4     right in front of our door.           When I spoke to him, he

      5     said that's the person he's coming to get, be sure he

      6     wasn't somehow involved in it.

      7     Q.       And with the exception of Officer Flynn who was

      8     standing near Mr. Rasberry, did you observe Agent Wolf

      9     and Agent Sullivan doing anything that wasn't in

     10     furtherance of the investigation?

     11     A.       No.

     12                    MS. LIPEZ:   I have no further questions, Your

     13     Honor.

     14                    THE COURT:   Thank you.     Attorney Levine?

     15                             RECROSS EXAMINATION

     16     BY MR. LEVINE:

     17     Q.       Do you know who called for the K9?

     18     A.       I do not know.

     19     Q.       Do you know that somebody called for a K9?

     20     A.       I do not.     It's standard practice though that we

     21     try to get one.

     22     Q.       How long does it typically take for a K9 to

     23     arrive?

     24     A.       It can be anywhere from ten minutes if one's on

     25     duty close by, to a couple of hours if it's state
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      1     police.

      2     Q.       So if it takes a couple of hours and you haven't

      3     found any drugs anywhere in the room, are you going to

      4     keep him in handcuffs for two hours?

      5     A.       By our practice?      If the K9 is two hours away,

      6     we're going to start searching before the K9 arrives.

      7     Q.       Okay.   And you did start searching before the K9

      8     arrived?

      9     A.       Yes.

     10     Q.       Why?

     11     A.       I was told to.

     12     Q.       But that wasn't because the K9 was two hours

     13     away.

     14     A.       I have no idea.

     15     Q.       And you don't even know -- you weren't even aware

     16     that a K9 was called?

     17     A.       I was not.

     18     Q.       The purpose of searching the room was to find

     19     drugs?

     20     A.       Yes.

     21                 THE COURT:      Attorney Lipez, anything further?

     22                 MS. LIPEZ:      No, Your Honor.

     23                 THE COURT:      All right.     Officer, thank you

     24     very much.       You can step down.       Please call your next

     25     witness.
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      1                 MS. LIPEZ:      Government calls Kris Sullivan,

      2     Your Honor.

      3                 THE CLERK:      Please raise your right hand.                 Do

      4     you solemnly swear that the testimony you will give in

      5     the cause now in hearing will be the truth, the whole

      6     truth, and nothing but the truth, so help you God?

      7                 THE WITNESS:      I do.

      8                 THE CLERK:      Please be seated.        Please pull

      9     yourself right up to the microphone and state your

     10     first and last name for the Court.

     11                 THE WITNESS:      Kris Sullivan.

     12                 THE CLERK:      Spell your last name.

     13                 THE WITNESS:      S-U-L-L-I-V-A-N.           First name is

     14     K-R-I-S.

     15                 THE CLERK:      Thank you.

     16                 THE COURT:      Please proceed.

     17                 MS. LIPEZ:      Thank you, Your Honor.

     18                             DIRECT EXAMINATION

     19     BY MS. LIPEZ:

     20     Q.      Agent Sullivan, where do you work?

     21     A.      Drug Enforcement Administration.

     22     Q.      What is your position there?

     23     A.      Special agent.

     24     Q.      And do you have a particular office you're

     25     stationed with?
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      1     A.      Portland, Maine, resident office.

      2     Q.      How long have you been with the Portland, Maine,

      3     office of the DEA?

      4     A.      A year.     I transferred about a year ago from San

      5     Francisco field division office.

      6     Q.      And how long in total have you been with DEA?

      7     A.      Three years.

      8     Q.      I'd like to direct your attention to July 15th of

      9     2015; were you assisting Agent Wolf with one of his

     10     investigations on that date?

     11     A.      Yes.

     12     Q.      And did your assistance begin with conducting

     13     surveillance of someone who was suspected to be making

     14     a drug delivery?

     15     A.      Yes.

     16     Q.      Where was that?

     17     A.      I was actually stationed at the Mobil on Congress

     18     Street and the target you're talking about actually

     19     came to the Gulf across the street, the gas station.

     20     Q.      Are you aware that at least Agent Wolf had

     21     contact with her after she arrived?

     22     A.      Yes.

     23     Q.      Did you have any contact with her yourself?

     24     A.      No.

     25     Q.      What did Agent Wolf tell you after he had contact
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      1     with this person?

      2     A.       That she had a hotel room -- a motel room at the

      3     American -- American Best Inn in Scarborough and she

      4     eventually had given consent for us to go in that room

      5     and there was an individual in there by the name of

      6     Champ or Champagne and she gave us consent to go and

      7     search that room.

      8     Q.       And did you hear whether she had provided any

      9     information about whether there were believed to be

     10     other drugs in that room?

     11     A.       Yes.    She said that there was drugs in the room

     12     or on his person, I believe.           I don't know if she said

     13     in the room or on his person, but there were drugs

     14     there.

     15     Q.       So what did you all agree to do after that?

     16     A.       Go set up on the motel and make entry into the

     17     motel room.

     18     Q.       For what purpose?

     19     A.       To find narcotics.

     20     Q.       To search it?

     21     A.       Search it.

     22     Q.       Did you all discuss a safety plan?

     23     A.       Safety plan as far as like a brief or --

     24     Q.       Yeah.    What was the discussion about how you

     25     would enter into the room and what steps you would take
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      1     to protect yourself, if any.

      2     A.      Well, we had the room card that the female had

      3     provided us and so there was three in the front and I

      4     was to be in the back of the motel in case any

      5     individuals that were in there tried to flee out the

      6     one escape window in the bathroom, I believe, the

      7     window.

      8     Q.      So this was a first floor motel room?

      9     A.      Yes.

     10     Q.      And you're standing at the window that you

     11     believed comes out of the back of the room --

     12     A.      Yes --

     13     Q.      -- that's why --

     14     A.      -- a few rooms just shy of the window, yes.

     15     Q.      What were you wearing at the time?

     16     A.      I had my vest on, DEA insignia on the front, my

     17     badge was out on a chain, had my tac belt on, my

     18     firearm, handcuffs and other gear.

     19     Q.      Did you unholster your weapon at any point while

     20     you were at this motel?

     21     A.      When I was out back, I had -- it was out, low

     22     ready around -- which is just around my waist area,

     23     just above my waist, just below my chest, not pointed

     24     out at anyone, just straight down at the ground.

     25     Q.      And how long would you say you were hanging out
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      1     back of the motel?

      2     A.      Um, approximately three minutes I would say.

      3     Q.      And then what happened?

      4     A.      Then Agent Wolf came around back and grabbed me

      5     and we went back around the front and I entered the

      6     room.

      7     Q.      So at that point, the others made entry into the

      8     room?

      9     A.      Yeah.    That was all completed, yes.

     10                   THE COURT:     Agent, you have to lean a little

     11     closer to the microphone, please, so we can pick it up.

     12     There you go.

     13                   THE WITNESS:     Sorry.

     14     A.      Yes.    So we walked back around front and I walked

     15     right into the room because he had already made entry

     16     in the room.

     17     Q.      Where was your weapon at the time you made entry

     18     into the room?

     19     A.      Holstered.      As soon as Agent Wolf got me, I

     20     holstered up and walked around front.

     21     Q.      Did you unholster your weapon at any point while

     22     you were in the room?

     23     A.      No.

     24     Q.      And what did you observe when you went in the

     25     room?
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      1     A.      The defendant was directly to the right on the

      2     front of the room.        It's a very small motel room, so I

      3     don't know how many people were right in the front of

      4     the room, but I walked towards the back because it was

      5     just crowded up front.          It was a very small hotel room

      6     and just a bathroom in the back and then a basic motel

      7     room with a fridge and a TV.

      8     Q.      And by the defendant, you mean Mr. Rasberry?

      9     A.      Yes.

     10     Q.      And what was his position or situation when you

     11     entered the room?

     12     A.      He had hand restraints on and was just standing

     13     there right by the front window, compliant.

     14     Q.      And what did you do then after going into the

     15     hotel room?

     16     A.      I actually walked back to the bathroom and looked

     17     around and just began searching the room.

     18     Q.      And did you find anything in the course of your

     19     search?

     20     A.      I don't know if I was the initial person to find

     21     it, but I saw a digital scale on the back of the toilet

     22     and there were also -- I remember there were baggies in

     23     the room.      I don't remember if it was in the room or

     24     the bathroom and that's all I -- there was some

     25     syringes actually as well underneath the dresser in the
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      1     middle of the room.

      2     Q.      And was anyone else assisting you with this

      3     search of the motel room?

      4     A.      At that point Thomas LaPierre was -- task force

      5     officer, Andrew Flynn, Scarborough Police Department

      6     was in the room.        I don't know if he was searching at

      7     that moment, and obviously Paul Wolf, Agent Wolf.

      8     Q.      And when you search a room like this, do you try

      9     to do so methodically?

     10     A.      Yes.    We try to do two to a room and we check

     11     each other's side when we're done, so it's pretty

     12     methodic.       Start in the back, work forward or forward,

     13     work back.

     14     Q.      And when you actually discover what you believe

     15     is a piece of evidence and you're going to seize it, do

     16     you have particular procedures that you have to follow

     17     in terms of how you seize it and bag it and things like

     18     that?

     19     A.      Yeah.    We have a bag and I usually -- someone

     20     will take a photo or bag the evidence and then just

     21     write notes on who found it, where it was found and

     22     it's taken to our non-drug evidence custodian if it's

     23     non-drugs once we process it back at the office.

     24     Q.      These are all policies and procedures --

     25     A.      Yes.
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      1     Q.       -- you've been trained on.          While you were

      2     conducting the search of the room, did you observe

      3     whether Agent Wolf had any interaction with Mr.

      4     Rasberry?

      5     A.       Yes.

      6     Q.       What did you observe?

      7     A.       So after I came out of the bathroom, they were

      8     still looking around the room, I -- Agent Wolf was

      9     speaking with Mr. Rasberry.           I don't know what he was

     10     saying, but he began to conduct a pat down of Mr.

     11     Rasberry and I noticed that he stopped in the groin

     12     area and I don't know what he said to Mr. Rasberry at

     13     that point, I was just watching his back from the

     14     bathroom, that he had found something that was not

     15     supposed to be there or part of his anatomy, I guess

     16     you could say, and placed him under arrest at that

     17     point.

     18     Q.       Had you observed -- did you know whether anyone

     19     had patted Mr. Rasberry down before that?

     20     A.       No.    I was the last one in the room -- I was the

     21     last one in the motel room.           I mean it's after, so no.

     22     Q.       And then you spent most of your time searching

     23     after that; is that right?

     24     A.       Yes.

     25     Q.       And did you hear whether -- when Agent Wolf was
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      1     patting Mr. Rasberry down, did you -- were you able to

      2     hear whether they were having any conversation or not?

      3     A.      I don't know what was being said.                They were

      4     speaking.       I don't know exactly what.

      5     Q.      So you weren't able to hear or focused on what

      6     they were saying; is that fair to say?

      7     A.      Yeah.

      8     Q.      So what happened then after Agent Wolf said he

      9     found something that wasn't part of his anatomy?

     10     A.      He placed him under arrest and began actually a

     11     full body search.

     12     Q.      And what did you observe at that point?

     13     A.      He had started out in the waistband and

     14     initially, it took Agent Wolf a while to actually

     15     locate -- get his hands down in there and move the

     16     pants and at that point, Rasberry actually instructed

     17     Agent Wolf to just go in through the front to get it.

     18     Q.      So he was helpful in the search at that point?

     19     A.      Yeah.

     20     Q.      And what did you observe Agent Wolf pull out of

     21     the defendant's pants?

     22     A.      It was one large baggie with four individually

     23     wrapped packages inside of that bag.

     24     Q.      What did it appear to you to be?

     25     A.      Three -- three were like a brown powdery
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      1     substance, which was consistent with heroin, and the

      2     fourth was white powder consistent with cocaine.

      3     Q.       At any time while you were in the motel room, did

      4     you see any of the other agents unholster their

      5     weapons?

      6     A.       No.

      7                    MS. LIPEZ:     I have no further questions.

      8                    THE COURT:     Thank you.   Attorney Levine.

      9                    MR. LEVINE:     Thank you, Your Honor.

     10                                 CROSS-EXAMINATION

     11     BY MR. LEVINE:

     12     Q.       Good afternoon.

     13     A.       Good afternoon.

     14     Q.       So you were the guy who was around back to

     15     prevent escape through the back window?

     16     A.       Yes.

     17     Q.       And so you didn't witness the entry to the room?

     18     A.       No.

     19     Q.       And if agents had drawn weapons at that point in

     20     time, you wouldn't have been there?

     21     A.       Nope.

     22     Q.       So even around back without actually entering the

     23     room, you had drawn your weapon just in case?

     24     A.       Yeah.    That's how I'm trained, yes, at that

     25     point.
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      1     Q.      Just in case somebody tries to escape out the

      2     window?

      3     A.      Yeah.    Out the window, run out the back, you

      4     know.

      5     Q.      Because if they are dangerous enough -- desperate

      6     enough to escape out the window, they may be dangerous

      7     enough to draw a weapon?

      8     A.      Yes.

      9     Q.      And when you came into the room within minutes

     10     after the initial entry, you were accompanied by Agent

     11     Wolf?

     12     A.      Yes.

     13     Q.      And Agent LaPierre was already in the room?

     14     A.      Yes.    Task force officer.

     15     Q.      Task force officer and Scarborough police officer

     16     Andrew Flynn was already in the room?

     17     A.      Yes.

     18     Q.      So now there's about four of you in the room,

     19     plus the suspect, Mr. Rasberry, correct?

     20     A.      Yes.

     21     Q.      And he's in handcuffs at that point?

     22     A.      Yes.

     23     Q.      He's not resisting?

     24     A.      No.

     25     Q.      He's not trying to flee?
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      1     A.      Nope.

      2     Q.      And your focus at that point in time is

      3     conducting a search of the room?

      4     A.      For me, yes, at that point.

      5     Q.      There's no urgency on anyone's part to frisk Mr.

      6     Rasberry, right?

      7     A.      I don't believe so. I --

      8     Q.      You didn't see anyone frisk Mr. Rasberry?

      9     A.      I did as soon as -- after I walked in, I had -- I

     10     saw Mr. Wolf conduct a pat down, yes.

     11     Q.      How long after you were in the room?

     12     A.      I can't give an exact time.           I don't know.

     13     Q.      Was it 20 minutes after you walked in?

     14     A.      No.

     15     Q.      Was it after you had conducted a search of the

     16     room?

     17     A.      Not the whole room.        I did just the bathroom and

     18     then I was -- I don't know if the front room had been

     19     searched at that point, I don't know, because as I

     20     said, I was the last one in.           So I did the bathroom,

     21     but I think that had already been searched.                 I don't

     22     know.

     23     Q.      Had you make a written report?

     24     A.      I did not.

     25     Q.      So you're just testifying from independent
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      1     recollection?

      2     A.      Yes.

      3     Q.      Something that took place months ago?

      4     A.      Yes.

      5     Q.      And your job at the point in time that you enter

      6     the room is to search the room for drugs, correct?

      7     A.      For -- yeah, weapons, drugs.

      8     Q.      Because the search for other people in the room

      9     had already been conducted by Wolf and LaPierre before

     10     you entered?

     11     A.      I didn't -- yeah.        There was no other individuals

     12     in the room.

     13     Q.      Right.     That had already been ruled out?

     14     A.      Yes.

     15     Q.      So at this point you guys are tossing the room,

     16     looking high and low, trying to find drugs, drug

     17     paraphernalia, weapons, contraband, digital scales,

     18     anything you can find?

     19     A.      Yeah.     We had consent, so yeah.

     20     Q.      And that's your focus at that point in time?

     21     A.      My focus, yes.

     22     Q.      Not getting Mr. Rasberry out of handcuffs as soon

     23     as possible?

     24     A.      No.     I walked to the back of the hotel room

     25     because there was -- it's so small, I had to go to the
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      1     back and started searching the bathroom.

      2     Q.      Did you hear anyone say to Mr. Rasberry that he

      3     was not under arrest?

      4     A.      I did not.

      5     Q.      Did you hear anyone say to Mr. Rasberry he was

      6     being detained?

      7     A.      I did not, no.

      8     Q.      What was your understanding as to how long he was

      9     going to be detained?

     10     A.      I had no -- I don't know.

     11     Q.      Did you know that a drug dog was called?

     12     A.      I don't recall that.

     13     Q.      Do you know that a drug dog wasn't called?

     14     A.      Well, I don't know.

     15     Q.      Would it have been standard operating procedure

     16     to call a drug dog?

     17     A.      Um, not standard operating procedure.               I don't --

     18     no.

     19     Q.      You didn't hear anyone call for a K9?

     20     A.      No.   I don't recall, no.

     21     Q.      And do you have any idea how long it takes for a

     22     K9 to arrive?

     23     A.      Well, if you were to call Scarborough PD and they

     24     are very close typically because it's right there in

     25     Scarborough, so it could have been two minutes, it
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      1     could have been ten minutes.           I don't know.

      2     Q.       Did you see what precipitated the pat down search

      3     of my client by Agent Wolf?

      4     A.       Precipitated as in?

      5     Q.       Why did he do it at the point in time he did it

      6     as opposed to earlier or later.

      7     A.       I don't know.       I can't speak for Agent Wolf.

      8                    MR. LEVINE:    That's all I have.

      9                    THE COURT:    Attorney Lipez?

     10                    MS. LIPEZ:    Briefly, Your Honor.

     11                            REDIRECT EXAMINATION

     12     BY MS. LIPEZ:

     13     Q.       Agent Sullivan, you started searching fairly

     14     quickly after entering the room; isn't that right?

     15     A.       Yes.

     16     Q.       You were not waiting for a drug dog; is that

     17     right?

     18     A.       No.

     19     Q.       No one instructed you to wait for a dog?

     20     A.       No.

     21     Q.       You began your search?

     22     A.       Yes.

     23                    MS. LIPEZ:    I have no further questions.

     24                    THE COURT:    Attorney Levine, anything else?

     25                    MR. LEVINE:    No.
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      1                 THE COURT:      Agent, you may step down.           Thank

      2     you very much.

      3                 MS. LIPEZ:      I have no further witnesses, Your

      4     Honor, and the Government rests.

      5                 THE COURT:      Attorney Levine, would you like a

      6     recess at this point?

      7                 MR. LEVINE:      Um, I talked to my client during

      8     the last recess, Your Honor.           Could I have just one

      9     moment?

     10                 THE COURT:      Yes, go ahead.

     11                 (Discussion off the record between the

     12     defendant and counsel)

     13                 MR. LEVINE:      Judge, we have no witnesses.

     14                 THE COURT:      All right.     So the evidence is

     15     closed and with that, I will now entertain argument by

     16     counsel.     Attorney Lipez.

     17                 MS. LIPEZ:      Thank you, Your Honor.          May I have

     18     a moment?

     19                 THE COURT:      You may.     Would either side like a

     20     brief recess before we have argument?

     21                 MR. LEVINE:      I'm all set.

     22                 MS. LIPEZ:      I just need to get my notes.

     23                 THE COURT:      All right.

     24                 MS. LIPEZ:      Your Honor, as I understand

     25     defense's argument, and I'm sure I'll be corrected if
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      1     I'm wrong, but it's not challenging the entry into the

      2     room, but simply they've raised two issues.                 One,

      3     whether this Terry stop had, in fact, turned into an

      4     unlawful de facto arrest; and two, whether Agent Wolf's

      5     frisk at the time he did it was permissible.                 As we lay

      6     out in our briefs, we think both actions were entirely

      7     reasonable.

      8            Looking first at the actions taken in the

      9     detention of this defendant, it really boils down to

     10     whether the handcuffs and the weapons in this situation

     11     were reasonable.        Courts, as we cited in our brief,

     12     have repeatedly blessed the use of such measures when

     13     there's reason articulable suspicion to believe that

     14     someone may be a danger.

     15            That's a fairly low standard.            It's not even

     16     rising to the level of probable cause and it's

     17     premised, as the courts have said over and over, on the

     18     idea that officers need to reasonably be able to

     19     protect themselves.

     20            Here, there are multiple factors that warranted

     21     the handcuffs and the drawn weapon.              First, the Court

     22     has heard that this defendant had a significant

     23     criminal history which included not only drugs, but

     24     violence and violence involving weapons.

     25            The Court also heard that this defendant had used
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      1     multiple aliases, which I would suggest is someone who

      2     is an enhanced risk because it's someone who is not

      3     particularly cooperative with law enforcement.

      4            Perhaps most importantly, six months prior this

      5     actual defendant had been found in another hotel room

      6     in the Portland area with drugs and a gun.                  I would

      7     suggest that that is a red flag and, in fact, it would

      8     be very reckless for police officers who are going to

      9     encounter him in a hotel room like this not to take

     10     note of that and not to take sufficient measures to

     11     restrain him in light of that.

     12            This also is a drug trafficking investigation.                     We

     13     know that there's often significant links between drug

     14     trafficking and violence.           I'm not saying that's the

     15     only reason as the defendant has suggested in his reply

     16     brief, but it's certainly one of the factors if you

     17     look at the totality of the circumstances, and here in

     18     particular, they are investigating a serious federal

     19     drug crime, which is always going to heighten tensions

     20     and create more risk to the officers.

     21            In addition, this is a motel room.                As you've

     22     heard, it was unknown to the officers who was inside,

     23     what they might find in there and that's inherently

     24     more dangerous than a Terry stop in some sort of public

     25     place.
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      1            We pointed the Court in our brief to the Chaney

      2     case in the 1st Circuit which talked a bit about the

      3     dangers inherent in a hotel room and I think that's a

      4     valuable case for us.         And, in fact, the Court has also

      5     heard about the steps the officers took even leading up

      6     to the entry into the room; making sure not to stand

      7     directly in front of the door, making sure not to stand

      8     in front of the window, which I would suggest is

      9     further indication of their concerns about their

     10     safety.

     11            The defendant argued in his initial and reply

     12     brief, and there were some questions here today, about

     13     how this was really indistinguishable from an arrest,

     14     what's the difference, and I'd like to point to several

     15     factors that I think do distinguish this, Your Honor.

     16            First, you did hear testimony from Special Agent

     17     Wolf that he specifically told the defendant more than

     18     once that he was not under arrest.             That's something

     19     that the 1st Circuit has noted in other cases cited as

     20     an important factor and, in fact, this defendant, as we

     21     heard, asked at some point if he could have his

     22     handcuffs removed.        I would suggest that that is

     23     indicative of somebody who understands he's not under

     24     arrest.     He wouldn't ask that if he believed he were

     25     arrested.
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      1             Second, there was no effort to relocate this

      2     defendant to an interrogation room or police station.

      3     That's something that the 1st Circuit has cited

      4     sometimes as being problematic.            That did not happen

      5     here.     This all occurred within his hotel room.

      6             They didn't read him Miranda rights, there was no

      7     effort to interrogate him.           These again are all factors

      8     the Court could point to as being indicative of an

      9     arrest.     This was a detention.

     10             And then I would suggest that the officer's

     11     actions, for example, with their weapons were very

     12     limited, very reasonable.           You heard that Officer Flynn

     13     holstered his weapon as soon as he entered the room.

     14     Never pointed it at the defendant.             He said he had it

     15     in what he called the low ready position; that Agents

     16     Wolf and LaPierre never pointed their weapons at the

     17     defendant, but moved passed him to just make sure that

     18     there was no one in the room who might harm them and

     19     then immediately holstered their weapons.

     20             Agent Sullivan, the only time he had his weapon

     21     unholstered was when he had no contact with the

     22     defendant whatsoever and testified when he got back

     23     into the room, he never saw a weapon unholstered.

     24             So the use of weapons here was very limited in

     25     scope, I would suggest, very proportional to the threat
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      1     that the officers faced and then they put them away.

      2            In terms of the handcuffs, there were a lot of

      3     questions about why wasn't he frisked immediately so

      4     the handcuffs could be removed.            Your Honor, I suggest

      5     a slightly different question.            I think the case law is

      6     very clear actually that it would be appropriate in a

      7     circumstance like this to have the defendant, who

      8     presents a risk for all the reasons that I raised here,

      9     to keep him handcuffed for the duration of the Terry

     10     stop as long as that Terry stop doesn't take too long.

     11            Here we've heard evidence that the agents were

     12     rather quick.       I think the total time estimates we've

     13     heard have been between 25 and 35 minutes.

     14     Government's Exhibit 1, which is the dispatch log, I

     15     think bears out about the 35-minute estimate.

     16            That is well within the realm of reasonableness

     17     that courts have blessed in terms of conducting a Terry

     18     stop, a further investigation, and it sounds here,

     19     based on the testimony, we would argue, that the agents

     20     were all working diligently toward either confirming or

     21     dispelling their suspicions that there might be drugs

     22     in this room; in other words, someone had to stay with

     23     the defendant for purposes of safety and the others

     24     were doing what they needed to do to search that room,

     25     to get evidence bags.         There was some conversation with
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      1     the cab driver outside, which all goes towards again

      2     trying to investigate what was happening here.

      3            So this time period was well within the limits of

      4     what was reasonable and there's really no requirement

      5     that I'm aware of that someone be frisked and

      6     un-handcuffed immediately.           Again, the courts have

      7     blessed someone being handcuffed for 60, 90 minutes

      8     while the investigation continues.

      9            I will move to the frisk itself, unless the Court

     10     has questions about the detention.

     11                 THE COURT:      Please move on.

     12                 MS. LIPEZ:      And then the second question is

     13     whether -- I suppose first the Court has to find that a

     14     frisk at all was permissible for all the reasons that

     15     we've just talked about.          Him being handcuffed, I would

     16     argue that a quick frisk of this particular defendant

     17     was permissible.

     18            We cited the Osbourne case to the Court which

     19     fairly clearly applies the same reasonableness standard

     20     you see in the Fourth Amendment context to frisks and

     21     multiple frisks and says that if the second officer is

     22     reasonable in believing that the threat hasn't been

     23     neutralized, then a second frisk can occur.

     24            The testimony we heard here was that Officer Flynn

     25     did a very cursory pat down of this defendant and was
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      1     just the back of his shorts.           He testified he did not

      2     check his entire shorts, he did not check the groin or

      3     the crotch area, and I suggest that's consistent with

      4     the evidence because he said he was familiar with drugs

      5     being hidden there.         I suggest that if he had patted

      6     down that area, he probably would have, you know, found

      7     the drugs himself and that clearly did not happen.

      8            You heard testimony from Agent Wolf that he

      9     believed that the defendant had not been fully frisked

     10     at the time he did it.          He did it so that he could

     11     remove the defendant from handcuffs.              I suggest that's

     12     an appropriate thing to do.

     13            Agent LaPierre testified that he heard Officer

     14     Flynn and the defendant have a bit of a colloquy about

     15     whether he had been fully patted down.               Officer Flynn

     16     testified that I told the defendant specifically I had

     17     not done it thoroughly.

     18            And so we suggest that in light of all those

     19     circumstances, in light of all the things that we've

     20     mentioned that make this defendant a particular risk,

     21     that it was appropriate for Agent Wolf to do a thorough

     22     exterior frisk for weapons at that point.                It's what he

     23     did.     He then found the drugs and the arrest and the

     24     incident -- search incident to arrest followed from

     25     there.
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      1                 THE COURT:      Is it the Government's position

      2     that the agent -- agents and officers did not have a

      3     reasonable articulable suspicion that drugs were on Mr.

      4     Rasberry and that that does not provide a basis for a

      5     search of his -- a pat down search?

      6                 MS. LIPEZ:      Your Honor, I think as part of --

      7     as part of the search of the motel room, I do think

      8     they could have patted down the defendant as well.

      9            For example, there are instances where the courts

     10     have said if the defendant wants to leave, you know --

     11     if they're searching a room for weapons or something

     12     like that and the defendant wants to leave, they could

     13     make sure that they've searched that person ahead of

     14     time, so I do think that they had some information that

     15     he had drugs on him as well.

     16                 THE COURT:      Now, of course, their source,

     17     and -- I'm sorry, the woman that they had apprehended

     18     told them that she believed there were drugs to be

     19     found in a room or on the defendant's person.                  She gave

     20     consent to the search of the room.             It doesn't seem to

     21     me she can give consent to the search of the person.

     22                 MS. LIPEZ:      I would agree with that.

     23                 THE COURT:      So my question then is whether as

     24     a matter of fact -- well, just Fourth Amendment law --

     25     the agents would be justified in patting down Mr.
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      1     Rasberry because they had a reasonable articulable

      2     suspicion, not having found drugs in the room, that

      3     there might be drugs on his person?

      4                 MS. LIPEZ:      Your Honor, I don't think so, but

      5     I may request the opportunity to research that further

      6     and do supplemental briefing if the Court would allow

      7     it and is interested in that.

      8            As I understand it, the Terry stop, when you have

      9     reasonable articulable suspicion, certainly allows you

     10     to investigate further, although a frisk of the

     11     exterior I believe has to be based on the concern that

     12     a person is armed or dangerous, but I would like the

     13     opportunity to research that further.

     14                 THE COURT:      All right. Well, let's move on

     15     from that point then.

     16            The public's interest in having police officers

     17     safe and therefore have the right to frisk people for

     18     those people that they have reason to suspect might be

     19     armed is obviously quite established in law.                 Of

     20     course, the law requires that I look at the totality of

     21     the circumstances.

     22            How -- why should I conclude that it was

     23     reasonable for them to defer and postpone and complete

     24     an actual frisk of Mr. Rasberry -- how long was it,

     25     according to your view of the evidence?
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      1                 MS. LIPEZ:      I think the testimony, it was

      2     somewhere between 15 and 20 minutes.

      3                 THE COURT:      Why is it that they can keep

      4     someone handcuffed, an individual whom they do not have

      5     probable cause to arrest, for that period of time?                       Why

      6     do they have the right to defer it, postpone it and

      7     sort of get to it at the end of the process?

      8            That's an awfully big seizure, isn't it?                I mean

      9     for purposes of his personal integrity, having been in

     10     handcuffs for that period of time, why should I

     11     conclude that that aspect of this scenario is

     12     reasonable?

     13                 MS. LIPEZ:      Your Honor, I would suggest

     14     that -- first of all, I don't think it's an awfully

     15     long amount of time in terms of when you look at the

     16     contents of the case law where the courts have blessed

     17     much longer periods of detention.             I think there are

     18     1st Circuit cases for up to 90 minutes, and there's a

     19     difference between fully frisking someone to make sure

     20     they're not armed and keeping them in handcuffs and I

     21     don't suggest -- I don't think that determining that

     22     someone doesn't have any weapons on them then requires

     23     the police to un-handcuff that person.

     24            In fact, I think the case law is quite clear that

     25     if they believe someone is generally dangerous, and
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      1     it's a heightened situation, they can keep someone in

      2     handcuffs for the duration of the Terry stop and that's

      3     true whether or not they've been fully frisked and have

      4     weapons on them.

      5            I'm not aware of any requirement in the law that

      6     suggests that as soon as they determine they have no

      7     weapons on them, they have to un-handcuff them, and I

      8     don't think that's consistent with the law.

      9            I think there are lots of reasons to believe that

     10     this particular defendant could be a risk to them even

     11     if he didn't have a gun on them, and I've gone through

     12     them again, but -- in the past, but, you know, the use

     13     of aliases, the cooperating person had said that he

     14     would be a flight risk, there are all sorts of things

     15     that could have gone on here that presented a risk to

     16     them, even in the absence of weapons, and they are

     17     entitled to detain someone, to keep someone with them

     18     while they can firmly dispel their suspicions.

     19            I think sometimes there's confusion about I wasn't

     20     free to leave, therefore I was under arrest and that's

     21     clearly not the test, and so I would suggest to the

     22     Court that they are independent questions and that they

     23     were entitled to keep him in handcuffs for the duration

     24     of this stop as long as reasonable, regardless of

     25     whether they had frisked him in the beginning and found
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      1     weapons on him.       I think under these circumstances,

      2     they could have kept him in handcuffs and that would

      3     have been reasonable.

      4                 THE COURT:      Thank you.

      5                 MS. LIPEZ:      Thank you.     And I do just want to

      6     point out that we did make an inevitable discovery

      7     argument in our brief, and I would argue that upon

      8     finding the scales and the baggies in the room, in

      9     light of everything else they had heard, they did have

     10     probable cause to arrest and a search certainly would

     11     have happened at that point.

     12                 THE COURT:      It certainly seems however from

     13     the testimony to be that the officers, at least, did

     14     not view themselves as having probable cause to arrest

     15     at that point; isn't that the case?

     16                 MS. LIPEZ:      I don't know if they were

     17     specifically asked.         I know Agent Wolf testified that

     18     he didn't believe he had probable cause to arrest when

     19     he entered the room.         I don't know if there was a

     20     specific question about once the baggies and scales

     21     were found.

     22            It is an objective standard, although I understand

     23     with inevitable discovery there does have to be some

     24     step in that direction and I agree there was not a lot

     25     of testimony about that.
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      1                 THE COURT:      Thank you.

      2                 MS. LIPEZ:      Thank you.

      3                 THE COURT:      Attorney Levine.

      4                 MR. LEVINE:      Thank you, Your Honor.           Judge, I

      5     think that what was going on here was really two things

      6     at once; there's the Terry stop of my client, but

      7     there's also the execution of the consent search.

      8            So when the prosecutor talks about he can be

      9     detained to the extent of the Terry stop, that may be

     10     true, but this isn't just a Terry stop.                  I mean they're

     11     not searching the room for weapons per se.                  They're

     12     searching the room for drugs and drug-related

     13     paraphernalia.

     14            And they're doing that because they had a consent

     15     to search that was given to them by somebody other than

     16     the defendant, not because they had a search warrant,

     17     but it amounts to the same thing and it takes the same

     18     amount of time and in this case, it took about

     19     20 minutes and explaining their focus, by everyone's

     20     testimony, was searching for drugs.              They are looking

     21     high and low trying to find drugs in the room.

     22            There's no urgency to, you know, take care of the

     23     defendant and his bodily integrity and, you know, take

     24     off the handcuffs.        In fact, that's really

     25     counter-productive to them because if they take off the
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      1     handcuffs, if they search him or pat him down and

      2     discover that he doesn't have any weapons, he's just

      3     free to leave, right?         I mean because they're executing

      4     a consent warrant.

      5                 THE COURT:      Let me ask you this.         Do you agree

      6     that at the moment that the police entered the hotel

      7     room, they had a reasonable articulable suspicion that

      8     Mr. Rasberry might be in possession of narcotics?

      9                 MR. LEVINE:      Yes.

     10                 THE COURT:      And so under that, they would

     11     certainly have the right to pat him down at that point

     12     in time, correct?

     13                 MR. LEVINE:      Well, pat him down for weapons.

     14     I agree with that.

     15                 THE COURT:      All right.     But not otherwise?

     16                 MR. LEVINE:      No, because a pat down -- listen,

     17     Terry is about weapons, right?            It's about armed and

     18     dangerous.      Okay, the suspicion of drugs gives rise to

     19     the inference that there may be weapons, but it's about

     20     weapons.     It's not about a search for drugs at that

     21     point in time.       Otherwise, you know, we have a search

     22     incident to arrest and that's supposed to clean up

     23     everything you have on your person.

     24                 THE COURT:      Did you think when they entered

     25     the hotel room they also held a reasonable articulable
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      1     suspicion that Mr. Rasberry might have secreted drugs

      2     in the motel room?

      3                 MR. LEVINE:      Yes.

      4                 THE COURT:      And so don't they have the right

      5     to investigate that suspicion further before

      6     determining -- first of all, before releasing Mr.

      7     Rasberry -- yes, before releasing Mr. Rasberry.                  Why

      8     don't they get to take reasonable steps to see if their

      9     suspicion is, in fact, bourne out by the facts?

     10                 MR. LEVINE:      I guess it comes down to

     11     reasonable steps, and keep in mind Terry started out as

     12     a search, a pat down, simple pat down to determine if

     13     someone was armed and dangerous.             It's been expanded

     14     and clearly it has -- and now it looks more and more

     15     like an arrest every single day, but here's what I

     16     don't get, Judge, in terms of what's reasonable and

     17     what's not reasonable.

     18            If I'm a police officer and I'm going into that

     19     room with guns drawn because I believe that there's a

     20     dangerous person inside and we have weapons and I spend

     21     20 minutes searching the room high and low for drugs

     22     without doing a full pat down, despite the fact that

     23     he's in handcuffs, I mean if the guy has a weapon, my

     24     God, he's going to be desperate enough to use it and I

     25     want to make sure that I'm safe, that I go home to my
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      1     wife and kids at the end of the day.

      2            I'm telling you that the reason they didn't do

      3     this is not because they, you know, were otherwise, you

      4     know, trying to conduct a Terry type stop; they were

      5     trying to search for drugs.           They didn't want to have

      6     to release him sooner than they searched, and it just

      7     seems to me that what's reasonable in terms of the

      8     Fourth Amendment is do the pat down right away.

      9            I'm not saying anything other than that.                 I'm not

     10     saying that, you know, if they had done what they

     11     should have done because it's the most reasonable thing

     12     to do they could have kept the evidence, but they

     13     didn't do that and here's what the evidence is.

     14            You know, what was done to him and -- you know,

     15     look, I don't dispute the officer's testimony that

     16     there was this preliminary search and maybe it wasn't

     17     as, you know, narrowly focused as this subsequent

     18     search that discovered the baggie because, you know,

     19     how am I to make that argument because if there were,

     20     you know, a less than cursory or more than cursory

     21     search, presumably it would have disclosed the item.

     22            What I'm saying to you, Judge, is their focus --

     23     it's really about their focus.            They're looking for

     24     drugs.     They're looking for a bandanna.               They had found

     25     nothing in it, but it was folded in some way.                   I mean
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      1     it didn't feel like a weapon, but now they're really

      2     searching this guy because they think he has drugs.

      3            And this police officer from Scarborough, he

      4     wasn't the lead guy, he was called in at the last

      5     minute.     He didn't want to step on anyone's toes.

      6     Maybe he didn't want to conduct a more thorough search

      7     of my client's person, but it's very clear that the

      8     reason he was detained was so that they could find

      9     drugs and it's really clear that after 20 minutes, the

     10     reason they did this subsequent search under the

     11     so-called pat down for weapons was about finding the

     12     drugs that they didn't find in the room that they knew

     13     was there somewhere.         That's it.

     14                 THE COURT:      Thank you, counsel.

     15                 MR. LEVINE:      Thank you.

     16                 THE COURT:      Anything further from the

     17     Government?

     18                 MS. LIPEZ:      Very briefly, Your Honor, if I

     19     may.

     20                 THE COURT:      You may.

     21                 MS. LIPEZ:      Your Honor had touched on this,

     22     but Terry is not just about weapons.              There's two parts

     23     to Terry.      The first is whether there's reasonable

     24     articulable suspicion of criminal activity, and then a

     25     person can be detained while the police take steps to
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      1     confirm or dispel that suspicion and so there's no

      2     requirement that as soon as they determine someone's

      3     not dangerous, they have to let him go.

      4             In this case, as I said earlier, they were allowed

      5     to keep the defendant with them until they finished

      6     searching that room and determine whether drugs they

      7     had hoped were there were there or not.

      8             There's no requirement under Terry that someone be

      9     patted down immediately.          All Terry says is if you're

     10     going to pat someone down, that there also has to be

     11     reasonable articulable suspicion that they are

     12     dangerous, which I suggest there was here.

     13             So they're really independent analyses and if you

     14     take the pat down out of it, as I said before they

     15     could never have patted him down, kept him in handcuffs

     16     the entire time and I think that would have been

     17     entirely reasonable.         They did the pat down, the

     18     testimony was, so that they could remove him from the

     19     handcuffs so that they could relieve him of that, but

     20     there's no requirement that that need be done right

     21     away.    I believe that, based on the fact they could

     22     have kept him in the handcuffs the entire time, that's

     23     consistent with Terry.

     24             I don't think that the evidence is consistent with

     25     the idea that the pat down was for the purpose of
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      1     finding drugs.       That's not what any of them testified

      2     to and there's nothing, I think, to suggest that they

      3     had any nefarious motives here, but instead were coming

      4     to the end of their search and concluded that if they

      5     were going to remove the defendant from handcuffs, they

      6     had to make sure that they were all safe before doing

      7     so.

      8                 THE COURT:      One moment please.           Anything else?

      9                 MS. LIPEZ:      No, Your Honor.

     10                 THE COURT:      Thank you.     All right, counsel, I

     11     will take this under advisement and issue a written

     12     order as promptly as we can.

     13            Thank you both for very effective presentations

     14     and I'll be issuing a decision.            Thank you, we will be

     15     in recess.

     16                 MR. LEVINE:      Thank you.

     17                 MS. LIPEZ:      Thank you.

     18                 (End of proceeding).

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      1                   C E R T I F I C A T I O N

      2     I, Dennis Ford, Official Court Reporter for the United

      3     States District Court, District of Maine, certify that

      4     the foregoing is a correct transcript from the record

      5     of proceedings in the above-entitled matter.

      6     Dated:     February 3, 2017

      7                   /s/ Dennis Ford

      8                   Official Court Reporter

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